Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15    Desc:
           Exhibit Exhibit A (Schedule of Claims -English) Page 1 of 58



                                 EXHIBIT A
                                     Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                Exhibit Exhibit A (Schedule of Claims -English) Page 2 of 58

                                                                          Twenty-Seventh Omnibus Objection
                                                                          Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
1 SANTIAGO CRUZ,                05/25/18   Commonwealth of Puerto         34085              Undetermined* SANTIAGO CRUZ,          05/25/18   Commonwealth of Puerto    50548        Undetermined*
  ARACELIA                                 Rico                                                            ARACELIA                           Rico
  HC 01 BOX 4294                           17 BK 03283-LTS                                                 HC 01 BOX 4294                     17 BK 03283-LTS
  JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795-
                                                                                                           9703

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
2 SANTIAGO CRUZ,                05/25/18   Commonwealth of Puerto         35128              Undetermined* SANTIAGO CRUZ,          05/25/18   Commonwealth of Puerto    50548        Undetermined*
  ARACELIA                                 Rico                                                            ARACELIA                           Rico
  HC 01 BOX 4294                           17 BK 03283-LTS                                                 HC 01 BOX 4294                     17 BK 03283-LTS
  JUANA DIAZ, PR 00795-                                                                                    JUANA DIAZ, PR 00795-
  9703                                                                                                     9703

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
3 SANTIAGO CRUZ,                05/25/18   Commonwealth of Puerto         35280              Undetermined* SANTIAGO CRUZ,          05/25/18   Commonwealth of Puerto    50548        Undetermined*
  ARACELIA                                 Rico                                                            ARACELIA                           Rico
  HC 01 BOX 4294                           17 BK 03283-LTS                                                 HC 01 BOX 4294                     17 BK 03283-LTS
  JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795-
                                                                                                           9703

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
4 SANTIAGO                      06/26/18   Commonwealth of Puerto         68397              Undetermined* SANTIAGO                06/26/18   Commonwealth of Puerto    167718       Undetermined*
  ECHEVARRIA, GLADYS                       Rico                                                            ECHEVARRIA, GLADYS                 Rico
  HC 2 BOX 5046                            17 BK 03283-LTS                                                 HC 2 BOX 5046                      17 BK 03283-LTS
  PENUELAS, PR 00624                                                                                       PENUELAS, PR 00624-
                                                                                                           9689

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
5 SANTIAGO                      06/24/18   Commonwealth of Puerto         39608              Undetermined* SANTIAGO                06/29/18   Commonwealth of Puerto    143434       Undetermined*
  ECHEVARRIA, RAQUEL                       Rico                                                            ECHEVARRIA, RAQUEL                 Rico
  ALTURAS DE PENUELAS                      17 BK 03283-LTS                                                 ALTURAS DE PENUELAS                17 BK 03283-LTS
  2                                                                                                        2
  CALLE 8 E-39                                                                                             CALLE 8 E-39
  PENUELAS, PR 00624                                                                                       PENUELA, PR 00624

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 1 of 57
                                     Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                Exhibit Exhibit A (Schedule of Claims -English) Page 3 of 58

                                                                          Twenty-Seventh Omnibus Objection
                                                                          Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
6 SANTIAGO                      06/28/18   Commonwealth of Puerto         97408              Undetermined* SANTIAGO                06/28/18   Commonwealth of Puerto    115466       Undetermined*
  ECHEVARRIA,                              Rico                                                            ECHEVARRIA,                        Rico
  TERESITA                                 17 BK 03283-LTS                                                 TERESITA                           17 BK 03283-LTS
  BO QUEBRADA CEIBA                                                                                        BO QUEBRADA CEIBA
  P.O. BOX 1162                                                                                            PO BOX 1162
  PENUELAS, PR 00624                                                                                       PENUELAS, PR 00624

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
7 SANTIAGO FEBUS,               06/27/18   Commonwealth of Puerto         56928                 $ 10,000.00 SANTIAGO FEBUS,        06/27/18   Commonwealth of Puerto    57174           $ 10,000.00
  VILMA Y                                  Rico                                                             VILMA Y                           Rico
  CALLE SANTIAGO                           17 BK 03283-LTS                                                  CALLE. SANTIAGO                   17 BK 03283-LTS
  IGLESIAS                                                                                                  IGLESIAS
  NUM25                                                                                                     NUM. 25
  COAMO, PR 00769                                                                                           COAMO, PR 00769-0000

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
8 SANTIAGO FLORES,              05/29/18   Commonwealth of Puerto         23501              Undetermined* SANTIAGO FLORES,        06/29/18   Commonwealth of Puerto    84677        Undetermined*
  JOVILIANO                                Rico                                                            JOVILIANO                          Rico
  URB. VISTA ALEGRE                        17 BK 03283-LTS                                                 URB VISTA ALEGRE                   17 BK 03283-LTS
  1106 CALLE TRINITARIA                                                                                    1106 CALLE TRINITA
  VILLALBA, PR 00766                                                                                       VILLALBA, PR 00766

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
9 SANTIAGO FRANQUI,             07/04/18   Commonwealth of Puerto         43012                $ 18,000.00* SANTIAGO FRANQUI,      07/11/18   Commonwealth of Puerto    105923         $ 18,000.00*
  MAIRLIN                                  Rico                                                             MAIRLIN                           Rico
  HC 4 17346                               17 BK 03283-LTS                                                  HC 4 17346                        17 BK 03283-LTS
  CAMUY, PR 00627                                                                                           CAMUY, PR 00627

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
10 SANTIAGO FRANQUI,            07/04/18   Commonwealth of Puerto         74523                $ 16,000.00* SANTIAGO FRANQUI,      07/11/18   Commonwealth of Puerto    149281         $ 16,000.00*
   MAIRLIN                                 Rico                                                             MAIRLIN                           Rico
   HC 4 17346                              17 BK 03283-LTS                                                  HC 4 17346                        17 BK 03283-LTS
   CAMUY, PR 00627                                                                                          CAMUY, PR 00627

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 2 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 4 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
11 SANTIAGO LABOY, JOSE          06/29/18   Commonwealth of Puerto         137435             Undetermined* SANTIAGO LABOY, JOSE    06/29/18   Commonwealth of Puerto    137928       Undetermined*
   A.                                       Rico                                                            A.                                 Rico
   4 E 17                                   17 BK 03283-LTS                                                 E17 CALLE 4                        17 BK 03283-LTS
   JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
12 SANTIAGO LIZARDI,             06/28/18   Commonwealth of Puerto         111149             Undetermined* SANTIAGO LIZARDI,       06/28/18   Commonwealth of Puerto    162848       Undetermined*
   NIDZA L.                                 Rico                                                            NIDZA L.                           Rico
   VILLA BLANCA                             17 BK 03283-LTS                                                 H-12 CALLE 8 URB. SAN              17 BK 03283-LTS
   H12 CALLE 8 EXT SAN                                                                                      ANTONIO/VILLA
   ANTONIO                                                                                                  BLANCA
   CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
13 SANTIAGO LIZARDI,             06/28/18   Commonwealth of Puerto         120017             Undetermined* SANTIAGO LIZARDI,       06/28/18   Commonwealth of Puerto    162848       Undetermined*
   NIDZA L.                                 Rico                                                            NIDZA L.                           Rico
   URB. SAN                                 17 BK 03283-LTS                                                 H-12 CALLE 8 URB. SAN              17 BK 03283-LTS
   ANTONIO/VILLA                                                                                            ANTONIO/VILLA
   BLANCA                                                                                                   BLANCA
   H-12 CALLE 8                                                                                             CAGUAS, PR 00725
   CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
14 SANTIAGO LUGO,                06/27/18   Commonwealth of Puerto         106031             Undetermined* SANTIAGO LUGO,          06/27/18   Commonwealth of Puerto    107522       Undetermined*
   SANTIAGO                                 Rico                                                            SANTIAGO                           Rico
   HC-01 BOX 6434                           17 BK 03283-LTS                                                 HC-1 BOX 6434                      17 BK 03283-LTS
   AIBONITO, PR 00705                                                                                       AIBONITO, PR 00705

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
15 SANTIAGO LUGO,                06/29/18   Commonwealth of Puerto         83358              Undetermined* SANTIAGO LUGO,          06/29/18   Commonwealth of Puerto    137069       Undetermined*
   YADIRA                                   Rico                                                            YADIRA                             Rico
   BARRIO FUIG, CALLE #6                    17 BK 03283-LTS                                                 BARRIO FUIG CALLE 6                17 BK 03283-LTS
   CASA #113                                                                                                CASA 113
   GUANICA, PR 00653                                                                                        GUANICA, PR 00653

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 3 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 5 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
16 SANTIAGO LUGO,                06/28/18   Commonwealth of Puerto         123936             Undetermined* SANTIAGO LUGO,           06/29/18   Commonwealth of Puerto    137069       Undetermined*
   YADIRA                                   Rico                                                            YADIRA                              Rico
   BARRIO FUIG CALLE #6                     17 BK 03283-LTS                                                 BARRIO FUIG CALLE 6                 17 BK 03283-LTS
   CASA #113                                                                                                CASA 113
   GUANICA, PR 00653                                                                                        GUANICA, PR 00653

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
17 SANTIAGO LUGO,                06/28/18   Commonwealth of Puerto         121440             Undetermined* SANTIAGO LUGO,           06/29/18   Commonwealth of Puerto    151819       Undetermined*
   YAHAIRA                                  Rico                                                            YAHAIRA                             Rico
   CALLE #6 CASA#113 BO.                    17 BK 03283-LTS                                                 CALLE #6 CASA #113 BO.              17 BK 03283-LTS
   FUIG                                                                                                     FUIG
   GUANICA, PR 00653                                                                                        GUANICA, PR 00653

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
18 SANTIAGO LUNA,                05/22/18   Commonwealth of Puerto         20075              Undetermined* SANTIAGO LUNA,           05/22/18   Commonwealth of Puerto    20116        Undetermined*
   DAISY                                    Rico                                                            DAISY                               Rico
   PO BOX 1142                              17 BK 03283-LTS                                                 PO BOX 1142                         17 BK 03283-LTS
   CIDRA, PR 00739                                                                                          CIDRA, PR 00739

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
19 SANTIAGO                      04/16/18   Commonwealth of Puerto          7532              Undetermined* SANTIAGO                 04/16/18   Commonwealth of Puerto    7538         Undetermined*
   MALDONADO,                               Rico                                                            MALDONADO,                          Rico
   CONFESOR                                 17 BK 03283-LTS                                                 CONFESOR                            17 BK 03283-LTS
   URB LOS CAOBOS                                                                                           URB LOS CAOBOS
   891 C/ALGARROBO                                                                                          891 ALGARROBO
   PONCE, PR 00716                                                                                          PONCE, PR 00716

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
20 SANTIAGO                      05/29/18   Commonwealth of Puerto         25525              Undetermined* SANTIAGO                 05/29/18   Commonwealth of Puerto    26118        Undetermined*
   MALDONADO, SHEILA                        Rico                                                            MALDONADO, SHEILA                   Rico
   B 25 URB EL CONVENTO                     17 BK 03283-LTS                                                 PO BOX 348                          17 BK 03283-LTS
   SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 4 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                            Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 6 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
21 SANTIAGO MENDOZA,             06/29/18   Commonwealth of Puerto         137589             Undetermined* SANTIAGO MENDOZA,      06/29/18   Commonwealth of Puerto    140636       Undetermined*
   ALICIA                                   Rico                                                            ALICIA                            Rico
   BO BEATRIZ                               17 BK 03283-LTS                                                 BO. BEATRIZ                       17 BK 03283-LTS
   RR-02 BUZON 5764                                                                                         RR-02 BUZON 5764
   CIDRA, PR 00739                                                                                          CIDRA, PR 00739

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
22 SANTIAGO MORALES,             05/22/18   Commonwealth of Puerto         21924                   $ 9,000.00 SANTIAGO MORALES,    05/22/18   Commonwealth of Puerto    42978            $ 9,000.00
   LIZBETH                                  Rico                                                              LIZBETH                         Rico
   PO BOX 765                               17 BK 03283-LTS                                                   PO BOX 765                      17 BK 03283-LTS
   VILLALBA, PR 00766                                                                                         VILLALBA, PR 00766

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
23 SANTIAGO MORALES,             05/22/18   Commonwealth of Puerto         24403                   $ 9,000.00 SANTIAGO MORALES,    05/22/18   Commonwealth of Puerto    24414            $ 9,000.00
   LIZBETH                                  Rico                                                              LIZBETH                         Rico
   PO BOX 765                               17 BK 03283-LTS                                                   PO BOX 765                      17 BK 03283-LTS
   VILLALBA, PR 00766                                                                                         VILLALBA, PR 00766

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
24 SANTIAGO ORTIZ,               03/27/18   Commonwealth of Puerto          5012                   $ 8,058.63 SANTIAGO ORTIZ,      03/27/18   Commonwealth of Puerto    5015             $ 8,058.63
   FERNANDO                                 Rico                                                              FERNANDO                        Rico
   322 TOKENEKE RD                          17 BK 03283-LTS                                                   128 COLLEGE HWY                 17 BK 03283-LTS
   HOLYOKE, MA 01040                                                                                          APT 101
                                                                                                              SOUTH HAMPTON, MA
                                                                                                              01073

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
25 SANTIAGO ORTIZ,               05/25/18   Commonwealth of Puerto         31671              Undetermined* SANTIAGO ORTIZ,        05/25/18   Commonwealth of Puerto    32098        Undetermined*
   REINALDO T.                              Rico                                                            REINALDO T.                       Rico
   HC 15                                    17 BK 03283-LTS                                                 HC 15                             17 BK 03283-LTS
   PO BOX 16546                                                                                             PO BOX 16546
   HUMACAO, PR 00791-                                                                                       HUMACAO, PR 00791-
   9769                                                                                                     9769

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 5 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 7 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
26 SANTIAGO ORTIZ,               06/29/18   Commonwealth of Puerto         74761                 $ 16,000.00 SANTIAGO ORTIZ,        07/02/18   Commonwealth of Puerto    126565          $ 16,000.00
   VIRGENMINA                               Rico                                                             VIRGENMINA                        Rico
   2853 SW VENICE COURT                     17 BK 03283-LTS                                                  2853 SW VENICE COURT              17 BK 03283-LTS
   PALM CITY, FL 34990                                                                                       PALM CITY, FL 34990

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
27 SANTIAGO PACHECO,             06/29/18   Commonwealth of Puerto         67337                 $ 21,000.00 SANTIAGO PACHECO,      06/29/18   Commonwealth of Puerto    76785           $ 21,000.00
   IVELISSE                                 Rico                                                             IVELISSE                          Rico
   P. O. BOX 94                             17 BK 03283-LTS                                                  P.O. BOX 94                       17 BK 03283-LTS
   COROZAL, PR 00783                                                                                         COROZAL, PR 00783

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
28 SANTIAGO PACHECO,             06/28/18   Commonwealth of Puerto         74198                 $ 21,000.00 SANTIAGO PACHECO,      06/29/18   Commonwealth of Puerto    76785           $ 21,000.00
   IVELISSE                                 Rico                                                             IVELISSE                          Rico
   P. O. BOX 94                             17 BK 03283-LTS                                                  P.O. BOX 94                       17 BK 03283-LTS
   COROZAL, PR 00783                                                                                         COROZAL, PR 00783

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
29 SANTIAGO PAGAN, LUZ           05/02/18   Commonwealth of Puerto         10655              Undetermined* SANTIAGO PAGAN, LUZ     05/02/18   Commonwealth of Puerto    11323        Undetermined*
   L                                        Rico                                                            L.                                 Rico
   URB. EL VALLE                            17 BK 03283-LTS                                                 URB EL VALLE                       17 BK 03283-LTS
   CALLE ROSALES A-31                                                                                       155 CALLE SAUCE
   LAJAS, PR 00667                                                                                          LAJAS, PR 00667

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
30 SANTIAGO PAGAN, LUZ           05/02/18   Commonwealth of Puerto         11265              Undetermined* SANTIAGO PAGAN, LUZ     05/02/18   Commonwealth of Puerto    11323        Undetermined*
   L                                        Rico                                                            L.                                 Rico
   URB EL VALLE                             17 BK 03283-LTS                                                 URB EL VALLE                       17 BK 03283-LTS
   155 CALLE SAUCE                                                                                          155 CALLE SAUCE
   LAJAS, PR 00667                                                                                          LAJAS, PR 00667

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
31 SANTIAGO PAGAN, LUZ           05/02/18   Commonwealth of Puerto         10665              Undetermined* SANTIAGO PAGAN, LUZ     05/02/18   Commonwealth of Puerto    11323        Undetermined*
   L.                                       Rico                                                            L.                                 Rico
   155 CALLE SAUCE                          17 BK 03283-LTS                                                 URB EL VALLE                       17 BK 03283-LTS
   LAJAS, PR 00667                                                                                          155 CALLE SAUCE
                                                                                                            LAJAS, PR 00667

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 6 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                                Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 8 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
32 SANTIAGO PELLOT,              06/07/18   Commonwealth of Puerto         49721              Undetermined* SANTIAGO PELLOT,           06/07/18   Commonwealth of Puerto    58355        Undetermined*
   ELIZABETH                                Rico                                                            ELIZABETH                             Rico
   PO BOX 3310                              17 BK 03283-LTS                                                 P O BOX 3310                          17 BK 03283-LTS
   AGUADILLA, PR 00605                                                                                      AGUADILLA, PR 00605

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
33 SANTIAGO PELLOT,              06/07/18   Commonwealth of Puerto         53801              Undetermined* SANTIAGO PELLOT,           06/07/18   Commonwealth of Puerto    58355        Undetermined*
   ELIZABETH                                Rico                                                            ELIZABETH                             Rico
   PO BOX 3310                              17 BK 03283-LTS                                                 P O BOX 3310                          17 BK 03283-LTS
   AGUADILLA, PR 00605                                                                                      AGUADILLA, PR 00605

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
34 SANTIAGO PEREZ,               05/22/18   Commonwealth of Puerto         26349              Undetermined* SANTIAGO PEREZ,            05/22/18   Commonwealth of Puerto    32705        Undetermined*
   CARMEN R                                 Rico                                                            CARMEN R                              Rico
   HC 1 BOX 12217                           17 BK 03283-LTS                                                 HC 1 BOX 12217                        17 BK 03283-LTS
   COAMO, PR 00769                                                                                          COAMO, PR 00769

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
35 SANTIAGO PUJALS,              06/18/18   Commonwealth of Puerto         37929                $ 77,005.16* SANTIAGO PUJALS,          06/19/18   Commonwealth of Puerto    46827          $ 77,005.16*
   JANET                                    Rico                                                             JANET                                Rico
   PO BOX 3502 SUITE 161                    17 BK 03283-LTS                                                  P.O. BOX 3502                        17 BK 03283-LTS
   JUANA DIAZ, PR 00795                                                                                      SUITE 161
                                                                                                             JUANA DIAZ, PR 00795

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
36 SANTIAGO QUINTERO,            05/17/18   Commonwealth of Puerto         15974              Undetermined* SANTIAGO QUINTERO,         05/20/18   Commonwealth of Puerto    16692        Undetermined*
   MARITERE                                 Rico                                                            MARITERE                              Rico
   # 315 CALLE EMILIO                       17 BK 03283-LTS                                                 CALLE EMILIO                          17 BK 03283-LTS
   CASTELAR                                                                                                 CASTELAR # 315
   SANTURCE                                                                                                 SANTURCE
   SAN JUAN, PR 00912                                                                                       SAN JUAN, PR 00912

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
37 SANTIAGO RAMIREZ,             05/25/18   Commonwealth of Puerto         23009                $ 150,000.00 SANTIAGO RAMIREZ,         06/24/18   Commonwealth of Puerto    45112          $ 150,000.00
   LEONELIZ SOFIA                           Rico                                                             LEONELIZ SOFIA                       Rico
   ARNALDO ELIAS                            17 BK 03283-LTS                                                  ARNALDO ELIAS                        17 BK 03283-LTS
   PO BOX 191841                                                                                             PO BOX 191841
   SAN JUAN, PR 00919-1841                                                                                   SAN JUAN, PR 00919-1841

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 7 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                            Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 9 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
38 SANTIAGO RIVERA,              07/02/18   Commonwealth of Puerto         68302              Undetermined* SANTIAGO RIVERA,       07/02/18   Commonwealth of Puerto    129635       Undetermined*
   LETICIA                                  Rico                                                            LETICIA                           Rico
   PO BOX 272                               17 BK 03283-LTS                                                 PO BOX 272                        17 BK 03283-LTS
   BO. MARAVILLA ESTE                                                                                       LAS MARIAS, PR 00670
   LAS MARIAS, PR 00670

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
39 SANTIAGO RIVERA,              07/02/18   Commonwealth of Puerto         96114              Undetermined* SANTIAGO RIVERA,       07/02/18   Commonwealth of Puerto    129635       Undetermined*
   LETICIA                                  Rico                                                            LETICIA                           Rico
   PO BOX 272                               17 BK 03283-LTS                                                 PO BOX 272                        17 BK 03283-LTS
   LAS MARIAS, PR 00670                                                                                     LAS MARIAS, PR 00670

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
40 SANTIAGO RODRIGUEZ,           05/29/18   Commonwealth of Puerto         34324              Undetermined* SANTIAGO RODRIGUEZ,    05/29/18   Commonwealth of Puerto    35019        Undetermined*
   CARMEN L                                 Rico                                                            CARMEN L                          Rico
   URB LEVITTOWN                            17 BK 03283-LTS                                                 URB LEVITTOWN                     17 BK 03283-LTS
   3315 PASEO CLARO                                                                                         3315 PASEO CLARO
   TOA BAJA, PR 00949                                                                                       TOA BAJA, PR 00949

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
41 SANTIAGO RODRIGUEZ,           06/26/18   Commonwealth of Puerto         100598             Undetermined* SANTIAGO RODRIGUEZ,    06/27/18   Commonwealth of Puerto    108589       Undetermined*
   IRIS N.                                  Rico                                                            IRIS N.                           Rico
   URB. GLENVIEW                            17 BK 03283-LTS                                                 GLENVIEW GARDENS                  17 BK 03283-LTS
   GARDENS CALLE                                                                                            CALLE ELEMENTAL C12
   ELEMENTAL C-12                                                                                           PONCE, PR 00730
   PONCE, PR 00730

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
42 SANTIAGO RODRIGUEZ,           06/05/18   Commonwealth of Puerto         37216              Undetermined* SANTIAGO RODRIGUEZ,    06/28/18   Commonwealth of Puerto    126814       Undetermined*
   VERONICA                                 Rico                                                            VERONICA                          Rico
   PO BOX 209                               17 BK 03283-LTS                                                 PO BOX 209                        17 BK 03283-LTS
   CASTANER, PR 00631                                                                                       CASTANER, PR 00631

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
43 SANTIAGO RODRIGUEZ,           06/28/18   Commonwealth of Puerto         111116             Undetermined* SANTIAGO RODRIGUEZ,    06/28/18   Commonwealth of Puerto    126814       Undetermined*
   VERONICA                                 Rico                                                            VERONICA                          Rico
   PO BOX 209                               17 BK 03283-LTS                                                 PO BOX 209                        17 BK 03283-LTS
   CASTANER, PR 00631                                                                                       CASTANER, PR 00631

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 8 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 10 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
44 SANTIAGO RODRIGUEZ,           06/28/18   Commonwealth of Puerto         112811             Undetermined* SANTIAGO RODRIGUEZ,      06/28/18   Commonwealth of Puerto    126814       Undetermined*
   VERONICA                                 Rico                                                            VERONICA                            Rico
   P.O. BOX 209                             17 BK 03283-LTS                                                 PO BOX 209                          17 BK 03283-LTS
   CASTANER, PR 00631                                                                                       CASTANER, PR 00631

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
45 SANTIAGO RODRIGUEZ,           06/28/18   Commonwealth of Puerto         119021             Undetermined* SANTIAGO RODRIGUEZ,      06/28/18   Commonwealth of Puerto    126814       Undetermined*
   VERONICA                                 Rico                                                            VERONICA                            Rico
   PO BOX 209                               17 BK 03283-LTS                                                 PO BOX 209                          17 BK 03283-LTS
   CASTANER, PR 00631                                                                                       CASTANER, PR 00631

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
46 SANTIAGO ROMAN, LUZ           05/25/18   Commonwealth of Puerto         31822              Undetermined* SANTIAGO ROMAN, LUZ      05/30/18   Commonwealth of Puerto    44469        Undetermined*
   HC-02 BOX 9165                           Rico                                                            HC02 BOX 9165                       Rico
   HORMIGUEROS, PR                          17 BK 03283-LTS                                                 HORMIGUEROS, PR                     17 BK 03283-LTS
   00660                                                                                                    00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
47 SANTIAGO ROMAN,               06/28/18   Commonwealth of Puerto         71995              Undetermined* SANTIAGO ROMAN,          06/28/18   Commonwealth of Puerto    72403        Undetermined*
   MARCIAL F                                Rico                                                            MARCIAL F                           Rico
   41 CALLE PEDRO PABON                     17 BK 03283-LTS                                                 41 CALLE PEDRO PABON                17 BK 03283-LTS
   MOROVIS, PR 00687-8509                                                                                   MOROVIS, PR 00687-8509

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
48 SANTIAGO ROMAN,               06/28/18   Commonwealth of Puerto         73061              Undetermined* SANTIAGO ROMAN,          06/28/18   Commonwealth of Puerto    74632        Undetermined*
   MARCIAL F                                Rico                                                            MARCIAL F                           Rico
   41 CALLE PEDRO PABON                     17 BK 03283-LTS                                                 41 CALLE PEDRO PABON                17 BK 03283-LTS
   MOROVIS, PR 00687-8509                                                                                   MOROVIS, PR 00687-8509

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
49 SANTIAGO ROSARIO,             07/06/18   Commonwealth of Puerto         94521              Undetermined* SANTIAGO ROSARIO,        07/06/18   Commonwealth of Puerto    122033       Undetermined*
   VIDAL                                    Rico                                                            VIDAL                               Rico
   HC-03 BOX 3735                           17 BK 03283-LTS                                                 HC 01 BOX 3735                      17 BK 03283-LTS
   FLORIDA, PR 00650                                                                                        BO PAJAROS CALLE
                                                                                                            TULIPAN
                                                                                                            FLORIDA, PR 00650

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 9 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                          Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 11 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
50 SANTIAGO RUIZ,                07/05/18   Commonwealth of Puerto         134971             Undetermined* SANTIAGO RUIZ,       07/05/18   Commonwealth of Puerto    140382       Undetermined*
   AMARILYS                                 Rico                                                            AMARILYS                        Rico
   PO BOX-1380                              17 BK 03283-LTS                                                 PO BOX 1380                     17 BK 03283-LTS
   HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
   00660                                                                                                    00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
51 SANTIAGO RUIZ,                07/05/18   Commonwealth of Puerto         135087             Undetermined* SANTIAGO RUIZ,       07/05/18   Commonwealth of Puerto    140382       Undetermined*
   AMARILYS                                 Rico                                                            AMARILYS                        Rico
   PO BOX 1380                              17 BK 03283-LTS                                                 PO BOX 1380                     17 BK 03283-LTS
   HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
   00660                                                                                                    00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
52 SANTIAGO RUIZ,                07/05/18   Commonwealth of Puerto         136028             Undetermined* SANTIAGO RUIZ,       07/05/18   Commonwealth of Puerto    140382       Undetermined*
   AMARILYS                                 Rico                                                            AMARILYS                        Rico
   PO BOX1380                               17 BK 03283-LTS                                                 PO BOX 1380                     17 BK 03283-LTS
   HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
   00660                                                                                                    00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
53 SANTIAGO SANCHEZ,             05/15/18   Commonwealth of Puerto         14238              Undetermined* SANTIAGO SANCHEZ,    05/15/18   Commonwealth of Puerto    15439        Undetermined*
   JESUS                                    Rico                                                            JESUS                           Rico
   2 CALLE COMETA                           17 BK 03283-LTS                                                 2 CALLE COMETA                  17 BK 03283-LTS
   CAROLINA, PR 00979                                                                                       URB. LA MARINA
                                                                                                            CAROLINA, PR 00979

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
54 SANTIAGO SANCHEZ,             05/15/18   Commonwealth of Puerto         15264              Undetermined* SANTIAGO SANCHEZ,    05/15/18   Commonwealth of Puerto    15439        Undetermined*
   JESUS                                    Rico                                                            JESUS                           Rico
   URB. LA MARINA                           17 BK 03283-LTS                                                 2 CALLE COMETA                  17 BK 03283-LTS
   CALLE COMETA #2                                                                                          URB. LA MARINA
   CAROLINA, PR 00979                                                                                       CAROLINA, PR 00979

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 10 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 12 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
55 SANTIAGO SESENTON,            04/09/18   Commonwealth of Puerto          4415              Undetermined* SANTIAGO SESENTON,       04/09/18   Commonwealth of Puerto    6299         Undetermined*
   FLORENCIO                                Rico                                                            FLORENCIO                           Rico
   PO BOX 6677                              17 BK 03283-LTS                                                 P O BOX 6677                        17 BK 03283-LTS
   MAYAGUEZ, PR 00681                                                                                       MAYAGUEZ, PR 00680-
                                                                                                            6677

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
56 SANTIAGO SOTO,                04/19/18   Commonwealth of Puerto          5790              Undetermined* SANTIAGO SOTO,           04/19/18   Commonwealth of Puerto    5913         Undetermined*
   VIVIAN                                   Rico                                                            VIVIAN                              Rico
   BOX 418                                  17 BK 03283-LTS                                                 BOX 418                             17 BK 03283-LTS
   SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
57 SANTIAGO TORRES,              04/30/18   Commonwealth of Puerto          9605              Undetermined* SANTIAGO TORRES,         05/30/18   Commonwealth of Puerto    35310        Undetermined*
   AMELINES                                 Rico                                                            AMELINES                            Rico
   HACIENDA FLORIDA 829                     17 BK 03283-LTS                                                 URB SANTA MARIA                     17 BK 03283-LTS
   CALLE MAGNOLIA                                                                                           H 4 CALLE 28
   YAUCO, PR 00698-4550                                                                                     GUAYANILLA, PR 00656

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
58 SANTOS COLON,                 06/29/18   Commonwealth of Puerto         132497             Undetermined* SANTOS COLON,            06/29/18   Commonwealth of Puerto    150053       Undetermined*
   BRUNYMAR                                 Rico                                                            BRUNYMAR                            Rico
   URB. LAS ALONDRAS                        17 BK 03283-LTS                                                 URB LAS ALONDRAS                    17 BK 03283-LTS
   CALLE 3 A-51                                                                                             A 51 CALLE 3
   VILLALBA, PR 00766                                                                                       VILLALBA, PR 00766

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
59 SANTOS GARCIA, EMMA           06/29/18   Commonwealth of Puerto         95218              Undetermined* SANTOS GARCIA, EMMA      06/29/18   Commonwealth of Puerto    101006       Undetermined*
   VILLA PAMPANOS                           Rico                                                            AVE EDUARDO                         Rico
   1675 AVE EDUARDO                         17 BK 03283-LTS                                                 RUBERTE 1675                        17 BK 03283-LTS
   RUBERTE                                                                                                  SECTOR VILLA
   PONCE, PR 00716-0603                                                                                     PAMPANOS
                                                                                                            PONCE, PR 00716

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 11 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 13 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
60 SANTOS GONZALEZ,              05/15/18   Commonwealth of Puerto         15313                $ 75,000.00* SANTOS GONZALEZ,       05/15/18   Commonwealth of Puerto    15316          $ 75,000.00*
   FELIX                                    Rico                                                             FELIX                             Rico
   LYDIA APONTE                             17 BK 03283-LTS                                                  LYDIA APONTE                      17 BK 03283-LTS
   MALAVE                                                                                                    MALAVE
   5 CALLE NUÑEZ ROMEU                                                                                       5 CALLE NUÑEZ ROMEU
   CAYEY, PR 00736                                                                                           CAYEY, PR 00736

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
61 SANTOS LOYO, NILDA L.         06/02/18   Commonwealth of Puerto         58787              Undetermined* SANTOS LOYO, NILDA L.   06/29/18   Commonwealth of Puerto    115758       Undetermined*
   CHALETS LAS MUESAS,                      Rico                                                            CHALETS LAS MUESAS                 Rico
   5184, AVE MIGUEL DE                      17 BK 03283-LTS                                                 5184 AVE MIGUEL DE                 17 BK 03283-LTS
   MUESAS                                                                                                   MUESAS
   CAYEY, PR 00736                                                                                          CAYEY, PR 00736

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
62 SANTOS LOYO, NILDA L.         06/26/18   Commonwealth of Puerto         97279              Undetermined* SANTOS LOYO, NILDA L.   06/29/18   Commonwealth of Puerto    115758       Undetermined*
   CHALETS LAS MUESAS                       Rico                                                            CHALETS LAS MUESAS                 Rico
   5184 AVE. MIGUEL DE                      17 BK 03283-LTS                                                 5184 AVE MIGUEL DE                 17 BK 03283-LTS
   MUESAS                                                                                                   MUESAS
   CAYEY, PR 00736                                                                                          CAYEY, PR 00736

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
63 SANTOS RIVERA,                05/15/18   Commonwealth of Puerto         15474              $ 1,000,000.00* SANTOS RIVERA,        05/15/18   Commonwealth of Puerto    15569        $ 1,000,000.00*
   FRANCISCO                                Rico                                                              FRANCISCO                        Rico
   MANSION DEL NORTE                        17 BK 03283-LTS                                                   MANSI¾N DEL NORTE                17 BK 03283-LTS
   NA-21 CALLE LA                                                                                             NA-21
   RAÑADA                                                                                                     C/ LA RANADA
   CATAÑO, PR 00949                                                                                           TOA BAJA, PR 00949

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
64 SANTOS ROSADO,                05/29/18   Commonwealth of Puerto         39108              Undetermined* SANTOS ROSADO,          05/29/18   Commonwealth of Puerto    41770        Undetermined*
   AWILDA                                   Rico                                                            AWILDA                             Rico
   URB VILLA BORINQUEN                      17 BK 03283-LTS                                                 VILLA BORINQUEN                    17 BK 03283-LTS
   G 12 CALLE CASABE                                                                                        G12 CALLE CASABE
   CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 12 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                          Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 14 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
65 SANTOS SANTIAGO,              05/15/18   Commonwealth of Puerto         20505              Undetermined* SANTOS SANTIAGO,     05/15/18   Commonwealth of Puerto    28281        Undetermined*
   NYDIA E                                  Rico                                                            NYDIA E                         Rico
   URB JARDINES DEL                         17 BK 03283-LTS                                                 URB. JARDINES DEL               17 BK 03283-LTS
   CARIBE                                                                                                   CARIBE
   2A17 CALLE 53                                                                                            2A17 CALLE 53
   PONCE, PR 00728                                                                                          PONCE, PR 00728

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
66 SANTOS, MIRIAM                06/28/18   Commonwealth of Puerto         64780              Undetermined* SANTOS, MIRIAM       06/28/18   Commonwealth of Puerto    65051        Undetermined*
   MORALES                                  Rico                                                            MORALES                         Rico
   CALLE 10 INTERIOR                        17 BK 03283-LTS                                                 CALLE 10 INTERIOR               17 BK 03283-LTS
   H42A PARCELAS VAN                                                                                        H 42A PARCELAS VAN
   SCOY                                                                                                     SCOY
   BAYAMON, PR 00957                                                                                        BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
67 SANTOS, MIRIAM                06/28/18   Commonwealth of Puerto         64801              Undetermined* SANTOS, MIRIAM       06/28/18   Commonwealth of Puerto    65051        Undetermined*
   MORALES                                  Rico                                                            MORALES                         Rico
   CALLE 10 INTERIOR                        17 BK 03283-LTS                                                 CALLE 10 INTERIOR               17 BK 03283-LTS
   H42A PARCELAS VAN                                                                                        H 42A PARCELAS VAN
   SCOY BAYAMON, PR                                                                                         SCOY
   00957                                                                                                    BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
68 SANTOS, MIRIAM                06/28/18   Commonwealth of Puerto         64856              Undetermined* SANTOS, MIRIAM       06/28/18   Commonwealth of Puerto    65051        Undetermined*
   MORALES                                  Rico                                                            MORALES                         Rico
   CALLE 10 INTERIOR                        17 BK 03283-LTS                                                 CALLE 10 INTERIOR               17 BK 03283-LTS
   H42A PARCELAS VAN                                                                                        H 42A PARCELAS VAN
   SCOY                                                                                                     SCOY
   BAYAMON, PR 00957                                                                                        BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
69 SAURI GONZALEZ,               06/07/18   Commonwealth of Puerto         52099              Undetermined* SAURI GONZALEZ,      06/07/18   Commonwealth of Puerto    53800        Undetermined*
   ARLENE                                   Rico                                                            ARLENE                          Rico
   PO BOX 1267                              17 BK 03283-LTS                                                 PO BOX 1267                     17 BK 03283-LTS
   BOQUERON, PR 00622-                                                                                      BOQUERON, PR 00622
   1267

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 13 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                                 Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 15 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                      REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                           DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
70 SCOTIABANK DE                 05/23/18   Commonwealth of Puerto         19629               $ 1,855,380.59 SCOTIABANK DE             05/24/18   Commonwealth of Puerto    20886        $ 1,855,380.59
   PUERTO RICO                              Rico                                                              PUERTO RICO                          Rico
   C/O SAM                                  17 BK 03283-LTS                                                   C/O SAM                              17 BK 03283-LTS
   P.O. BOX 362394                                                                                            P.O. BOX 362394
   SAN JUAN, PR 00936-2394                                                                                    SAN JUAN, PR 00936-2394

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
71 SEDA COLLADO, BETSIE          04/06/18   Commonwealth of Puerto          6728              Undetermined* SEDA COLLADO, BETSIE        04/06/18   Commonwealth of Puerto    7303         Undetermined*
   PASEO LAS COLINAS                        Rico                                                            PASEO LAS COLINAS                      Rico
   932                                      17 BK 03283-LTS                                                 NUM 932                                17 BK 03283-LTS
   MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
72 SEDA VEGA, NANCY              05/25/18   Commonwealth of Puerto         29920              Undetermined* SEDA VEGA, NANCY            05/25/18   Commonwealth of Puerto    30336        Undetermined*
   CALLE PACHIN MARIN                       Rico                                                            21 B PACHIN MARIN                      Rico
   BUZON 21 B                               17 BK 03283-LTS                                                 MARICAO, PR 00606                      17 BK 03283-LTS
   MARICAO, PR 00606

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
73 SEGARRA CRUZ,                 07/06/18   Commonwealth of Puerto         150109                  $ 4,800.00 SEGARRA CRUZ,             07/06/18   Commonwealth of Puerto    150490           $ 4,800.00
   CARMEN CELIA                             Rico                                                              CARMEN CELIA                         Rico
   APTDO 7004 PMB 141                       17 BK 03283-LTS                                                   APTDO 7004 PMB 141                   17 BK 03283-LTS
   SAN SEBASTIAN, PR                                                                                          SAN SEBASTIAN, PR
   00685                                                                                                      00685

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
74 SEGUI ANGLERO,                05/30/18   Commonwealth of Puerto         42652              Undetermined* SEGUI ANGLERO,              05/30/18   Commonwealth of Puerto    42656        Undetermined*
   SHERRYL E                                Rico                                                            SHERRYL E                              Rico
   PO BOX 7058                              17 BK 03283-LTS                                                 PO BOX 7058                            17 BK 03283-LTS
   MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00681

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
75 SERRANO FRANQUI,              03/26/18   Commonwealth of Puerto          4979              Undetermined* SERRANO FRANQUI,            03/26/18   Commonwealth of Puerto    4988         Undetermined*
   ALEXANDER                                Rico                                                            ALEXANDER                              Rico
   PO BOX 1801                              17 BK 03283-LTS                                                 PO BOX 1801                            17 BK 03283-LTS
   BOQUERON, PR 00622                                                                                       BOQUERON, PR 00622

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 14 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 16 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
76 SERRANO MIRANDA,              06/27/18   Commonwealth of Puerto         54993              Undetermined* SERRANO MIRANDA,         06/27/18   Commonwealth of Puerto    55192        Undetermined*
   CARMEN E.                                Rico                                                            CARMEN E.                           Rico
                                            17 BK 03283-LTS                                                 URB. TOA ALTA                       17 BK 03283-LTS
                                                                                                            HEIGHTS CALLE 22 A
                                                                                                            BLOQUE U-14
                                                                                                            TOA ALTA, PR 00953

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
77 SERRANO PAGAN, LUIS           06/29/18   Commonwealth of Puerto         84685              Undetermined* SERRANO PAGAN, LUIS      07/06/18   Commonwealth of Puerto    159405       Undetermined*
   P.O. BOX 65                              Rico                                                            P.O. BOX 65                         Rico
   COMERIO, PR 00782                        17 BK 03283-LTS                                                 COMERIO, PR 00782                   17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
78 SERRANO RIVERA,               05/31/18   Commonwealth of Puerto         20523                $ 100,000.00 SERRANO RIVERA,         06/01/18   Commonwealth of Puerto    31291          $ 100,000.00
   AWILDA                                   Rico                                                             AWILDA                             Rico
   HC-50 BOX 40314                          17 BK 03283-LTS                                                  HC-50 BOX 40314                    17 BK 03283-LTS
   SAN LORENZO, PR 00754                                                                                     SAN LORENZO, PR 00754

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
79 SERRANO SERRANO,              06/26/18   Commonwealth of Puerto         93725              Undetermined* SERRANO SERRANO,         06/26/18   Commonwealth of Puerto    93899        Undetermined*
   IRMA I                                   Rico                                                            IRMA I                              Rico
   HC 6 BOX 2190                            17 BK 03283-LTS                                                 HC 6 BOX 2190                       17 BK 03283-LTS
   PONCE, PR 00731-9611                                                                                     PONCE, PR 00731-9611

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
80 SERRANO VELEZ,                06/27/18   Commonwealth of Puerto         112302             Undetermined* SERRANO VELEZ,           06/30/18   Commonwealth of Puerto    113964       Undetermined*
   DALIA I                                  Rico                                                            DALIA I                             Rico
   BLOG. 218 #10 CALLE                      17 BK 03283-LTS                                                 VILLA CAROLINA 218-10               17 BK 03283-LTS
   501                                                                                                      CALLE 501
   VILLA CAROLINA                                                                                           CAROLINA, PR 00985-
   CAROLINA, PR 00985                                                                                       3047

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 15 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                               Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 17 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
81 SERRANO, YOHAMMA              06/29/18   Commonwealth of Puerto         79295              Undetermined* SERRANO, YOHAMMA          06/29/18   Commonwealth of Puerto    90653        Undetermined*
   M.                                       Rico                                                            M.                                   Rico
   5073 STACEY DRIVE                        17 BK 03283-LTS                                                 5073 STACEY DRIVE                    17 BK 03283-LTS
   EAST                                                                                                     EAST
   APT.1406                                                                                                 APT. 1406
   HARRISBURG, PA 17111                                                                                     HARRISBURG, PA 17111

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
82 SIERRA GARCIA,                05/25/18   Commonwealth of Puerto         34397              Undetermined* SIERRA GARCIA,            05/25/18   Commonwealth of Puerto    34894        Undetermined*
   ALEXANDER                                Rico                                                            ALEXANDER                            Rico
   URB. LEVITTOWN                           17 BK 03283-LTS                                                 URB LEVITTOWN                        17 BK 03283-LTS
   LAKES                                                                                                    LAKES
   CALLE LEYLA OESTE                                                                                        R15 CALLE LEILA W
   R-15                                                                                                     TOA BAJA, PR 00949-4620
   TOA BAJA, PR 00949

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
83 SIERRA RODRIGUEZ,             05/29/18   Commonwealth of Puerto         38081              Undetermined* SIERRA RODRIGUEZ,         05/29/18   Commonwealth of Puerto    117327       Undetermined*
   JUAN R.                                  Rico                                                            JUAN R.                              Rico
   HC 01 BOX 8247                           17 BK 03283-LTS                                                 HC 01 BOX 8247                       17 BK 03283-LTS
   PENUELAS, PR 00624                                                                                       PENUELAS, PR 00624

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
84 SIERRA, PEDRO E.              06/29/18   Commonwealth of Puerto         58714                 $ 60,000.00 SIERRA, PEDRO E.         06/29/18   Commonwealth of Puerto    100024          $ 60,000.00
   PO BOX 142                               Rico                                                             P.O. BOX 142                        Rico
   GUAYNABO, PR 00970                       17 BK 03283-LTS                                                  GUAYNABO, PR 00970                  17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
85 SIGEL RIVERA TORRES           05/28/18   Commonwealth of Puerto         24745                $ 15,000.00* SOCIEDAD LEGAL DE        05/28/18   Commonwealth of Puerto    25703          $ 15,000.00*
   C/O LCDO. DENNIS J.                      Rico                                                             GANANCIALES RIVERA-                 Rico
   CRUZ PÉREZ                               17 BK 03283-LTS                                                  NEGRON C/O LCDO.                    17 BK 03283-LTS
   P. O. BOX 10720                                                                                           DENNIS J. CRUZ PEREZ
   PONCE, PR 00732                                                                                           PO BOX 10720
                                                                                                             PONCE, PR 00732

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 16 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 18 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
86 SIGEL RIVERA TORRES           05/28/18   Commonwealth of Puerto         25314                $ 15,000.00* SOCIEDAD LEGAL DE      05/28/18   Commonwealth of Puerto    25703          $ 15,000.00*
   C/O LCDO. DENNIS J.                      Rico                                                             GANANCIALES RIVERA-               Rico
   CRUZ PÉREZ                               17 BK 03283-LTS                                                  NEGRON C/O LCDO.                  17 BK 03283-LTS
   P. O. BOX 10720                                                                                           DENNIS J. CRUZ PEREZ
   PONCE, PR 00732                                                                                           PO BOX 10720
                                                                                                             PONCE, PR 00732

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
87 SILVA CONCEPCION,             06/28/18   Commonwealth of Puerto         44467                 $ 16,800.00 SILVA CONCEPCION,      06/28/18   Commonwealth of Puerto    57548           $ 16,800.00
   SONIA M.                                 Rico                                                             SONIA M.                          Rico
   APARTADO 3652                            17 BK 03283-LTS                                                  APARTADO 3652                     17 BK 03283-LTS
   VEGA ALTA, PR 00692                                                                                       VEGA ALTA, PR 00692

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
88 SILVA LUCIANO, ANA            06/22/18   Commonwealth of Puerto         93244              Undetermined* SILVA LUCIANO, ANA      06/28/18   Commonwealth of Puerto    137734       Undetermined*
   AWILDA                                   Rico                                                            AWILDA                             Rico
   EXT. VILLA DEL                           17 BK 03283-LTS                                                 EXT. VILLA DEL                     17 BK 03283-LTS
   CARMEN                                                                                                   CARMEN
   834 CALLE SAUCO                                                                                          834 CALLE SAUCO
   PONCE, PR 00716-2146                                                                                     PONCE, PR 00716-2146

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
89 SILVA VEGA,                   06/27/18   Commonwealth of Puerto         49677                $ 150,000.00 SILVA VEGA,            06/27/18   Commonwealth of Puerto    53290          $ 150,000.00
   ELIZABETH                                Rico                                                             ELIZABETH                         Rico
   HC-10 BOX 8266                           17 BK 03283-LTS                                                  HC-10 BOX 8266                    17 BK 03283-LTS
   SABANA GRANDE, PR                                                                                         SABANA GRANDE, PR
   00637-9722                                                                                                00637-9722

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
90 SINDICATO DE                  05/29/18   Commonwealth of Puerto         42136                $ 50,000.00* SINDICATO DE           05/29/18   Commonwealth of Puerto    47426          $ 50,000.00*
   BOMBEROS UNIDOS DE                       Rico                                                             BOMBEROS UNIDOS DE                Rico
   PR                                       17 BK 03283-LTS                                                  PR                                17 BK 03283-LTS
   LEONOR RODRIGUEZ                                                                                          LCDA. LEONOR
   RODRIGUEZ                                                                                                 RODRIGUEZ
   CIUDAD                                                                                                    RODRIGUEZ
   INTERAMERICANA 684                                                                                        CIUDAD
   CALLE MARLÍN                                                                                              INTERAMERICANA 684
   BAYAMÓN, PR 00957                                                                                         CALLE MARLÍN
                                                                                                             BAYAMÓN, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 17 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 19 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
91 SNIDER, WILMA K               05/03/18   Commonwealth of Puerto         10142              Undetermined* SNIDER, WILMA K         05/03/18   Commonwealth of Puerto    10143        Undetermined*
   893 FOREST GLEN DR.                      Rico                                                            893 FOREST GLEN DR.                Rico
   MOOREFIELD, WV 26836                     17 BK 03283-LTS                                                 MOOREFIELD, WV 26836               17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
92 SOCIAL SECURITY               05/18/18   Commonwealth of Puerto         11982                $ 276,928.00 SOCIAL SECURITY        05/23/18   Commonwealth of Puerto    28734         $ 276,928.00*
   ADMINISTRATION (SSA)                     Rico                                                             ADMINISTRATION (SSA)              Rico
   MATTHEW J. TROY                          17 BK 03283-LTS                                                  MATTHEW J. TROY,                  17 BK 03283-LTS
   SENIOR TRIAL                                                                                              SENIOR TRIAL
   COUNSEL, US DOJ                                                                                           COUNSEL US DOJ
   P.O. BOX 875, BEN                                                                                         P.O. BOX 875 BEN
   FRANKLIN STATION                                                                                          FRANKLIN STATION
   WASHINGTON, DC 20044                                                                                      WASHINGTON, DC 20044
   -0875                                                                                                     -0875

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
93 SOCIAL SECURITY               05/11/18   Commonwealth of Puerto         28834                $ 733,651.00 SOCIAL SECURITY        05/18/18   Commonwealth of Puerto    16858          $ 733,651.00
   ADMINISTRATION (SSA)                     Rico                                                             ADMINISTRATION (SSA)              Rico
   MATTHEW J. TROY                          17 BK 03283-LTS                                                  MATTHEW J. TROY                   17 BK 03283-LTS
   SENIOR TRIAL                                                                                              SENIOR TRIAL
   COUNSEL, US DOJ                                                                                           COUNSEL, US DOJ
   P.O. BOX 875 BEN                                                                                          P.O. BOX 875 BEN
   FRANKLIN STATION                                                                                          FRANKLIN STATION
   WASHINGTON, DC 20044                                                                                      WASHINGTON, DC 20044
   -0875                                                                                                     -0875

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
94 SOLANO VELEZ,                 04/30/18   Commonwealth of Puerto          8124              Undetermined* SOLANO VELEZ,           05/25/18   Commonwealth of Puerto    21820        Undetermined*
   DILAILA I                                Rico                                                            DILAILA I                          Rico
   PO BOX 3157                              17 BK 03283-LTS                                                 PO BOX 3157                        17 BK 03283-LTS
   AGUADILLA, PR 00605                                                                                      AGUADILLA, PR 00605

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
95 SOLER PEREZ, HEYDA            07/06/18   Commonwealth of Puerto         158532                $ 30,000.00 SOLER PEREZ, HEYDA     07/06/18   Commonwealth of Puerto    160280         $ 30,000.00*
   BOX #14 SAN RAFAEL #3                    Rico                                                             BOX #14                           Rico
   QUEBRADILLAS, PR                         17 BK 03283-LTS                                                  CALLE SAN RAFAEL #3               17 BK 03283-LTS
   00678                                                                                                     QUEBRADILLAS, PR
                                                                                                             00678

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 18 of 57
                                      Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 20 of 58

                                                                           Twenty-Seventh Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
96 SOLIS RIVERA,                 05/25/18   Commonwealth of Puerto         28542              Undetermined* SOLIS RIVERA,           05/25/18   Commonwealth of Puerto    31835        Undetermined*
   JANNETTE                                 Rico                                                            JANNETTE                           Rico
   URB VILLA MAR D 19                       17 BK 03283-LTS                                                 CALLE MEDITERRANEO                 17 BK 03283-LTS
   CALLE MEDITERRANEO                                                                                       D-19
   GUAYAMA, PR 00784                                                                                        URBANIZACION VILLA
                                                                                                            MAR
                                                                                                            GUAYAMA, PR 00784

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
97 SOSTRE ROSARIO,               06/28/18   Commonwealth of Puerto         51181              Undetermined* SOSTRE ROSARIO,         06/28/18   Commonwealth of Puerto    68075        Undetermined*
   NORMA                                    Rico                                                            NORMA                              Rico
   RR05 BUZON 9311                          17 BK 03283-LTS                                                 RR05 BUZON 9311                    17 BK 03283-LTS
   TOA ALTA, PR 00953                                                                                       TOA ALTA, PR 00953

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
98 SOSTRE ROSARIO,               06/28/18   Commonwealth of Puerto         65663              Undetermined* SOSTRE ROSARIO,         06/28/18   Commonwealth of Puerto    68075        Undetermined*
   NORMA                                    Rico                                                            NORMA                              Rico
   RR05 BUZON 9311                          17 BK 03283-LTS                                                 RR05 BUZON 9311                    17 BK 03283-LTS
   TOA ALTA, PR 00953                                                                                       TOA ALTA, PR 00953

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
99 SOTO ACEVEDO,                 06/27/18   Commonwealth of Puerto         49553              Undetermined* SOTO ACEVEDO,           06/28/18   Commonwealth of Puerto    56035        Undetermined*
   SHEILYMAR                                Rico                                                            SHEILYMAR                          Rico
   PO BOX 1357                              17 BK 03283-LTS                                                 PO BOX 1357                        17 BK 03283-LTS
   AGUADA, PR 00602                                                                                         AGUADA, PR 00602

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
100 SOTO BERRUZ, MARTHA          05/21/18   Commonwealth of Puerto         17659                 $ 12,285.00 SOTO BERRUZ, MARTHA    05/21/18   Commonwealth of Puerto    18901           $ 12,285.00
    RAMAL 485 NO 6732                       Rico                                                             RAMAL 485 NO 6732                 Rico
    QUEBRADILLAS, PR                        17 BK 03283-LTS                                                  QUEBRADILLAS, PR                  17 BK 03283-LTS
    00678                                                                                                    00678

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
101 SOTO CABAN, EVELYN           05/17/18   Commonwealth of Puerto         16123              Undetermined* SOTO CABAN, EVELYN      05/17/18   Commonwealth of Puerto    16163        Undetermined*
    PO BOX 1743                             Rico                                                            P. O. BOX 1743                     Rico
    ANASCO, PR 00610                        17 BK 03283-LTS                                                 ANASCO, PR 00610-1743              17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 19 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 21 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
102 SOTO CRUZ, CARMEN M           05/24/18   Commonwealth of Puerto         20406              Undetermined* SOTO CRUZ, CARMEN M      05/24/18   Commonwealth of Puerto    25060        Undetermined*
    PO BOX 2145                              Rico                                                            PO BOX 002145                       Rico
    SAN SEBASTIAN, PR                        17 BK 03283-LTS                                                 SAN SEBASTIAN, PR                   17 BK 03283-LTS
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
103 SOTO DE LEON, LUIS E.         06/28/18   Commonwealth of Puerto         125035              $ 382,575.96* SOTO DE LEON, LUIS E.   06/28/18   Commonwealth of Puerto    161911        $ 382,575.96*
    ATTN: JUAN P. RIVERA                     Rico                                                             PO BOX 7498                        Rico
    ROMAN                                    17 BK 03283-LTS                                                  PONCE, PR 00732                    17 BK 03283-LTS
    JRAF LAW FIRM
    PO BOX 7498
    PONCE, PR 00732-7498

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
104 SOTO HERNANDEZ,               06/29/18   Commonwealth of Puerto         74574              Undetermined* SOTO HERNANDEZ,          07/06/18   Commonwealth of Puerto    133149       Undetermined*
    BENJAMIN                                 Rico                                                            BENJAMIN                            Rico
    HC 01 5140                               17 BK 03283-LTS                                                 HC-01 BOX 5140                      17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
105 SOTO MATOS, EDMEE I           06/27/18   Commonwealth of Puerto         103491             Undetermined* SOTO MATOS, EDMEE I      06/27/18   Commonwealth of Puerto    162799       Undetermined*
    URB. JESUS M LAGO                        Rico                                                            URB JESUS M LAGO                    Rico
    D14 CALLE MARGARITA                      17 BK 03283-LTS                                                 D-14                                17 BK 03283-LTS
    ESTEVA                                                                                                   UTUADO, PR 00641
    UTUADO, PR 00641

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
106 SOTO RAMIREZ, OLGA            06/29/18   Commonwealth of Puerto         143845             Undetermined* SOTO RAMIREZ, OLGA       07/02/18   Commonwealth of Puerto    153222       Undetermined*
    MERCEDES                                 Rico                                                            MERCEDES                            Rico
    P.O. BOX 2675                            17 BK 03283-LTS                                                 PO BOX 2675                         17 BK 03283-LTS
    MAYAGUEZ, PR 00681                                                                                       MAYAGUEZ, PR 00681

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
107 SOTO RAMOS, CELENIO           06/27/18   Commonwealth of Puerto         101575             Undetermined* SOTO RAMOS, CELENIO      06/27/18   Commonwealth of Puerto    105917       Undetermined*
    PO BOX 664                               Rico                                                            PO BOX 664                          Rico
    UTUADO, PR 00641                         17 BK 03283-LTS                                                 UTUADO, PR 00641-0664               17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 20 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                            Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 22 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
108 SOTO SALGADO,                 06/29/18   Commonwealth of Puerto         139563             Undetermined* SOTO SALGADO,          06/29/18   Commonwealth of Puerto    143563       Undetermined*
    LILLIAM S.                               Rico                                                            LILLIAM S.                        Rico
    SIERRA BAYAMON                           17 BK 03283-LTS                                                 SIERRA BAYAMON                    17 BK 03283-LTS
    92 4 CALLE 78                                                                                            92 4 CALLE 78
    BAYAMON, PR 00961                                                                                        BAYAMON, PR 00961

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
109 SOTO SANTIAGO,                06/28/18   Commonwealth of Puerto         42745              Undetermined* SOTO SANTIAGO,         06/28/18   Commonwealth of Puerto    63484        Undetermined*
    EFRAIN                                   Rico                                                            EFRAIN                            Rico
    URB SANTA MARIA                          17 BK 03283-LTS                                                 URB SANTA MARIA                   17 BK 03283-LTS
    N 17 HACIENDA LA                                                                                         N17 HACIENDA LA
    CATALINA                                                                                                 CATALINA
    GUAYANILLA, PR 00656-                                                                                    GUAYANILLA, PR 00656
    1538

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
110 SOTO SANTIAGO,                06/28/18   Commonwealth of Puerto         61811              Undetermined* SOTO SANTIAGO,         06/28/18   Commonwealth of Puerto    63484        Undetermined*
    EFRAIN                                   Rico                                                            EFRAIN                            Rico
    URB SANTA MARIA                          17 BK 03283-LTS                                                 URB SANTA MARIA                   17 BK 03283-LTS
    N-17 HACIENDA LA                                                                                         N17 HACIENDA LA
    CATALINA                                                                                                 CATALINA
    GUAYANILLA, PR 00656-                                                                                    GUAYANILLA, PR 00656
    1538

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
111 SOTO VARGAS, MARIA            04/06/18   Commonwealth of Puerto          6684              Undetermined* SOTO VARGAS, MARIA     04/06/18   Commonwealth of Puerto    6685         Undetermined*
    COM. SAN ROMUALDO                        Rico                                                            COM SAN ROMUALDO                  Rico
    CALLE J 16 A                             17 BK 03283-LTS                                                 16-A CALLE J                      17 BK 03283-LTS
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
112 SUAREZ NEGRON,                07/06/18   Commonwealth of Puerto         116675             Undetermined* SUAREZ NEGRON,         07/06/18   Commonwealth of Puerto    132622       Undetermined*
    ROLANDO                                  Rico                                                            ROLANDO                           Rico
    PO BOX 5259                              17 BK 03283-LTS                                                 HC-37 BOX 8730                    17 BK 03283-LTS
    YAUCO, PR 00698                                                                                          GUANICA, PR 00653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 21 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                                Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 23 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
113 SUPER ASPHALT                 06/25/18   Commonwealth of Puerto         38867                $ 356,883.94 SUPER ASPHALT             06/25/18   Commonwealth of Puerto    50387          $ 356,883.94
    PAVEMENT                                 Rico                                                             PAVEMENT                             Rico
    CORPORATION                              17 BK 03283-LTS                                                  CORPORATION                          17 BK 03283-LTS
    PAVIA & LAZARO, PSC                                                                                       PAVIA & LAZARO, PSC
    ATTN: GERARDO PAVÍA                                                                                       ATTN: GERARDO PAVIA
    CABANILLAS                                                                                                CABANILLAS
    P.O. BOX 9746                                                                                             PO BOX 9746
    SAN JUAN, PR 00908                                                                                        SAN JUAN, PR 00908

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
114 SYNERGY VALIDATION            04/06/18   Commonwealth of Puerto          6673                   $ 4,299.00 SYNERGY VALIDATION       04/20/18   Commonwealth of Puerto    5996             $ 4,299.00
    GROUP CORP                               Rico                                                              GROUP CORP                          Rico
    PO BOX 227                               17 BK 03283-LTS                                                   PO BOX 227                          17 BK 03283-LTS
    JUNCOS, PR 00777-0227                                                                                      JUNCOS, PR 00777-0227

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
115 TAPIA RAMOS,                  06/27/18   Commonwealth of Puerto         163965             Undetermined* TAPIA RAMOS,               06/28/18   Commonwealth of Puerto    135854       Undetermined*
    RAMONITA                                 Rico                                                            RAMONITA                              Rico
    H4 CALLE 12 URB                          17 BK 03283-LTS                                                 H-4 12 ST.                            17 BK 03283-LTS
    JARDINS DE CAYEY I                                                                                       URB. JARDINES DE
    CAYEY, PR 00736-4017                                                                                     CAYEY I
                                                                                                             CAYEY, PR 00736-4017

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
116 TARTAK GILIBERTYS,            02/06/18   Commonwealth of Puerto           449                 $ 78,161.07 TARTAK GILIBERTYS,        02/06/18   Commonwealth of Puerto     461            $ 78,161.07
    AGNES A.                                 Rico                                                             AGNES A.                             Rico
    212 CALLE SAN                            17 BK 03283-LTS                                                  212 CALLE SAN                        17 BK 03283-LTS
    LORENZO                                                                                                   LORENZO
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
117 TELEPRO CARIBE, INC.          05/21/18   Commonwealth of Puerto         17726                 $ 14,250.00 TELEPRO CARIBE, INC.      05/24/18   Commonwealth of Puerto    26295           $ 14,250.00
    ANGEL L ACEVEDO                          Rico                                                             ANGEL L. ACEVEDO                     Rico
    SERRANO                                  17 BK 03283-LTS                                                  URB. PASEO ALTO 68                   17 BK 03283-LTS
    URB PASEO ALTO                                                                                            CALLE 2
    C-4 CALLE 2                                                                                               SAN JUAN, PR 00928-5918
    SAN JUAN, PR 00926-5918

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 22 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                                Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 24 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
118 TELEPRO CARIBE, INC.          05/22/18   Commonwealth of Puerto         18672                 $ 14,250.00 TELEPRO CARIBE, INC.      05/24/18   Commonwealth of Puerto    26295           $ 14,250.00
    ANGEL L. ACEVEDO                         Rico                                                             ANGEL L. ACEVEDO                     Rico
    SERRANO                                  17 BK 03283-LTS                                                  URB. PASEO ALTO 68                   17 BK 03283-LTS
    URB. PASEO ALTO                                                                                           CALLE 2
    68 CALLE 2                                                                                                SAN JUAN, PR 00928-5918
    SAN JUAN, PR 00926-5918

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
119 TELLADO LOPEZ, LUIS           07/05/18   Commonwealth of Puerto         155817             Undetermined* TELLADO LOPEZ, LUIS        07/05/18   Commonwealth of Puerto    157438       Undetermined*
    HC02 BOX 6037                            Rico                                                            21 CALLE AURELIO                      Rico
    BO LARES                                 17 BK 03283-LTS                                                 BERNA L                               17 BK 03283-LTS
    LARES, PR 00669                                                                                          LARES, PR 00669

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
120 THE PASCUAL FAMILY            06/28/18   Commonwealth of Puerto         66179              Undetermined* THE PASCUAL FAMILY         06/28/18   Commonwealth of Puerto    62066          $ 90,000.00*
    TRUST, REPRESENTED                       Rico                                                            TRUST, REPRESENTED                    Rico
    BY UBS TRUST                             17 BK 03283-LTS                                                 BY UBS TRUST                          17 BK 03283-LTS
    COMPANY OF PUERTO                                                                                        COMPANY OF PUERTO
    RICO                                                                                                     RICO
    JAVIER GONZÁLEZ,                                                                                         UBS TRUST COMPANY
    EXECUTIVE DIRECTOR                                                                                       PUERTO RICO
    250 MUÑOZ RIVERA                                                                                         JAVIER GONZALEZ -
    AVENUE 10TH FLOOR                                                                                        EXECUTIVE DIRECTOR
    SAN JUAN, PR 00918                                                                                       250 MUNOZ RIVERA
                                                                                                             AVENUE
                                                                                                             10TH FL.
                                                                                                             SAN JUAN, PR 00918

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
121 TIO GARCIA, JOSE A.           02/07/18   Commonwealth of Puerto           445                 $ 22,548.88 TIO GARCIA, JOSE A.       02/07/18   Commonwealth of Puerto     487            $ 22,548.88
    COND. LOS OLMOS, 36                      Rico                                                             COND. LOS OLMOS, 36                  Rico
    CALLE NEVAREZ, APT.                      17 BK 03283-LTS                                                  CALLE NEVAREZ, APT.                  17 BK 03283-LTS
    10-A                                                                                                      10-A
    SAN JUAN, PR 00927                                                                                        SAN JUAN, PR 00927

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 23 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 25 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
122 TIRADO LAMELA,                06/12/18   Commonwealth of Puerto         38201              Undetermined* TIRADO LAMELA,          06/29/18   Commonwealth of Puerto    90614        Undetermined*
    JESSICA                                  Rico                                                            JESSICA                            Rico
    #1356 CALLE FELICIDAD                    17 BK 03283-LTS                                                 #1356 CALLE FELICIDAD              17 BK 03283-LTS
    ISABELA, PR 00662                                                                                        ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
123 TIRADO MORALES,               06/26/18   Commonwealth of Puerto         93552              Undetermined* TIRADO MORALES,         07/03/18   Commonwealth of Puerto    123017       Undetermined*
    MIRIAM                                   Rico                                                            MIRIAM                             Rico
    CALLE JARDIN HABANA                      17 BK 03283-LTS                                                 CALLE JARDIN HABANA                17 BK 03283-LTS
    #414                                                                                                     #414
    JARDINES DE LA                                                                                           JARDINES DE LA
    FUENTE                                                                                                   FUENTE
    TOA ALTA, PR 00953                                                                                       TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
124 TOLEDO ORTIZ, NILSA           07/06/18   Commonwealth of Puerto         133684             Undetermined* TOLEDO ORTIZ, NILSA     07/06/18   Commonwealth of Puerto    149315       Undetermined*
    IRIS                                     Rico                                                            IRIS                               Rico
    HC 7 BOX 70544                           17 BK 03283-LTS                                                 HC 7 BOX 70544                     17 BK 03283-LTS
    SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
125 TOLENTINO CRUZ, ANA           05/10/18   Commonwealth of Puerto         14263              Undetermined* TOLENTINO CRUZ, ANA     05/10/18   Commonwealth of Puerto    14770        Undetermined*
    M                                        Rico                                                            M                                  Rico
    URB LAS LEANDRAS                         17 BK 03283-LTS                                                 URB LAS LEANDRAS                   17 BK 03283-LTS
    L16 C15                                                                                                  Y7 CALLE 5
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 24 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                                 Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 26 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                      REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                           DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
126 TOMASSINI, NORBERTO           05/07/18   Commonwealth of Puerto         12206               $ 4,909,667.10 TOMASSINI, NORBERTO       05/07/18   Commonwealth of Puerto    12265        $ 4,909,667.10
    ET AL AND AYALA,                         Rico                                                              ET AL AND AYALA,                     Rico
    IVAN ET AL, PLAINTIFF                    17 BK 03283-LTS                                                   IVAN ET AL, PLAINTIFF                17 BK 03283-LTS
    CREDITORS OF                                                                                               CREDITORS OF
    CONSOLIDATED                                                                                               CONSOLIDATED
    JUDGMENT ENTERED                                                                                           JUDGMENT ENTERED
    ON APRIL 22, 2016 BY                                                                                       ON APRIL 22, 2016 BY
    COURT OF FIRST                                                                                             COURT OF FIRST
    INSTANCE OF                                                                                                INSTANCE OF
    AGUADILLA                                                                                                  AGUADILLA
    NORBERTO TOMASSINI                                                                                         NORBERTO TOMASSINI
    ET AL (58 PLAINTIFFS)                                                                                      ET AL (58 PLAINTIFFS)
    VAN AYALA ET AL (28                                                                                        VAN AYALA ET AL (28
    PLAINTIFFS)                                                                                                PLAINTIFFS)
    ATTN. IVONNE                                                                                               ATTN. IVONNE
    GONZALEZ MORALES                                                                                           GONZALEZ MORALES
    PO BOX 9021828                                                                                             PO BOX 9021828
    SAN JUAN, PR 00902-1828                                                                                    SAN JUAN, PR 00902-1828

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
127 TORO MERCADO, JULIO           06/26/18   Commonwealth of Puerto         42621                $ 150,000.00 TORO MERCADO, JULIO        06/27/18   Commonwealth of Puerto    43734         $ 150,000.00*
    ANGEL                                    Rico                                                             ANGEL                                 Rico
    PO BOX 6124                              17 BK 03283-LTS                                                  PO BOX 6124                           17 BK 03283-LTS
    MAYAGUEZ, PR 00681                                                                                        MAYAGUEZ, PR 00681

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
128 TORO MORALES,                 05/29/18   Commonwealth of Puerto         26946               $ 150,000.00* TORO MORALES,              05/29/18   Commonwealth of Puerto    27052         $ 150,000.00*
    MIGUEL A.                                Rico                                                             MIGUEL A.                             Rico
    PO BOX 668                               17 BK 03283-LTS                                                  PO BOX 668                            17 BK 03283-LTS
    HORMINGUEROS, PR                                                                                          HORMINGUEROS, PR
    00660                                                                                                     00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
129 TORRES ALMEDINA,              06/29/18   Commonwealth of Puerto         138995             Undetermined* TORRES ALMEDINA,            06/29/18   Commonwealth of Puerto    148576       Undetermined*
    MARIA I.                                 Rico                                                            MARIA I.                               Rico
    PO BOX 1098                              17 BK 03283-LTS                                                 P.O. BOX 1098                          17 BK 03283-LTS
    AIBONITO, PR 00705                                                                                       AIBONITO, PR 00705

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 25 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 27 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
130 TORRES CRUZ, ELIEZER          06/27/18   Commonwealth of Puerto         49571              Undetermined* TORRES CRUZ, ELIEZER    06/27/18   Commonwealth of Puerto    54329        Undetermined*
    HC 02 BOX 10238                          Rico                                                            HC-02 BOX 10238                    Rico
    JUNCOS, PR 00777                         17 BK 03283-LTS                                                 JUNCOS, PR 00777-9604              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
131 TORRES DE JESUS,              06/29/18   Commonwealth of Puerto         150932             Undetermined* TORRES DE JESUS,        07/06/18   Commonwealth of Puerto    160598       Undetermined*
    MAGALI                                   Rico                                                            MAGALI                             Rico
    CALL BOX 69001                           17 BK 03283-LTS                                                 CALL BOX 69001 SUITE               17 BK 03283-LTS
    SUITE 110                                                                                                110
    HATILLO, PR 00659                                                                                        HATILLO, PR 00659

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
132 TORRES GARCIA,                05/01/18   Commonwealth of Puerto         10903              Undetermined* TORRES GARCIA,          05/01/18   Commonwealth of Puerto    11850        Undetermined*
    FERNANDO                                 Rico                                                            FERNANDO                           Rico
    VILLA DEL CARMEN                         17 BK 03283-LTS                                                 VILLA DEL CARMEN                   17 BK 03283-LTS
    2452 CALLE TURIN                                                                                         2452 CALLE TURIN
    PONCE, PR 00716-2222                                                                                     PONCE, PR 00716-2222

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
133 TORRES GARCIA,                05/01/18   Commonwealth of Puerto         11628              Undetermined* TORRES GARCIA,          05/01/18   Commonwealth of Puerto    11850        Undetermined*
    FERNANDO                                 Rico                                                            FERNANDO                           Rico
    VILLA DEL CARMEN                         17 BK 03283-LTS                                                 VILLA DEL CARMEN                   17 BK 03283-LTS
    2452 CALLE TURIN                                                                                         2452 CALLE TURIN
    PONCE, PR 00716-2222                                                                                     PONCE, PR 00716-2222

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
134 TORRES GERENA,                07/06/18   Commonwealth of Puerto         97979              Undetermined* TORRES GERENA,          07/06/18   Commonwealth of Puerto    158418       Undetermined*
    VANESSA                                  Rico                                                            VANESSA                            Rico
    HC 1 BOX 4624                            17 BK 03283-LTS                                                 URB ALTAMIRA                       17 BK 03283-LTS
    LARES, PR 00669-9641                                                                                     BUZON 41
                                                                                                             LARES, PR 00669

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
135 TORRES GONZALEZ,              05/18/18   Commonwealth of Puerto         37142              Undetermined* TORRES GONZALEZ,        05/18/18   Commonwealth of Puerto    51387        Undetermined*
    ELIZABETH                                Rico                                                            ELIZABETH                          Rico
    PO BOX 239                               17 BK 03283-LTS                                                 PO BOX 239                         17 BK 03283-LTS
    VILLALBA, PR 00766                                                                                       VILLALBA, PR 00766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 26 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 28 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
136 TORRES GONZALEZ,              05/18/18   Commonwealth of Puerto         43838              Undetermined* TORRES GONZALEZ,         05/18/18   Commonwealth of Puerto    51387        Undetermined*
    ELIZABETH                                Rico                                                            ELIZABETH                           Rico
    P.O. BOX 239                             17 BK 03283-LTS                                                 PO BOX 239                          17 BK 03283-LTS
    VILLALBA, PR 00766                                                                                       VILLALBA, PR 00766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
137 TORRES GONZALEZ,              06/29/18   Commonwealth of Puerto         148300               $ 60,000.00* TORRES GONZALEZ,        06/29/18   Commonwealth of Puerto    152962         $ 60,000.00*
    EVELYN                                   Rico                                                             EVELYN                             Rico
    URB LA RAMBLA                            17 BK 03283-LTS                                                  URB LA RAMBLA                      17 BK 03283-LTS
    1266 CALLE CLARISAS                                                                                       1266 CALLE CLARISAS
    PONCE, PR 00730                                                                                           PONCE, PR 00730

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
138 TORRES GONZALEZ,              06/27/18   Commonwealth of Puerto         55884              Undetermined* TORRES GONZALEZ,         06/29/18   Commonwealth of Puerto    69521        Undetermined*
    JORGE L.                                 Rico                                                            JORGE L.                            Rico
    RR 01 BOX 13330                          17 BK 03283-LTS                                                 RR1 BOX 13330                       17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
139 TORRES LEON, LUIS             06/29/18   Commonwealth of Puerto         86510                 $ 75,000.00 TORRES LEON, LUIS       06/29/18   Commonwealth of Puerto    87385          $ 75,000.00*
    OSVALDO                                  Rico                                                             OSVALDO                            Rico
    ROBERTO BOLORIN                          17 BK 03283-LTS                                                  ROBERTO BOLORIN                    17 BK 03283-LTS
    SANTIAGO                                                                                                  SANTIAGO
    APARTADO 2406                                                                                             APARTADO 2406
    GUAYAMA, PR 00785                                                                                         GUAYAMA, PR 00785

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
140 TORRES LOPEZ, IVETTE          05/17/18   Commonwealth of Puerto         13564              Undetermined* TORRES LOPEZ, IVETTE     05/17/18   Commonwealth of Puerto    13935        Undetermined*
    G                                        Rico                                                            G                                   Rico
    URB. BRISAS DEL                          17 BK 03283-LTS                                                 URB. BRISAS DEL                     17 BK 03283-LTS
    PRADO                                                                                                    PRADO BOX 2008
    BOX 2008                                                                                                 SANTA ISABEL, PR 00757
    SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 27 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 29 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
141 TORRES MARTINEZ,              06/28/18   Commonwealth of Puerto         123225             Undetermined* TORRES MARTINEZ,        06/28/18   Commonwealth of Puerto    127959       Undetermined*
    MARIA L                                  Rico                                                            MARIA L                            Rico
    PO BOX 940                               17 BK 03283-LTS                                                 PO BOX 940                         17 BK 03283-LTS
    LARES, PR 00669                                                                                          LARES, PR 00669

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
142 TORRES NEGRON,                05/28/18   Commonwealth of Puerto         25260              Undetermined* TORRES NEGRON,          05/28/18   Commonwealth of Puerto    25263        Undetermined*
    LESLIE A                                 Rico                                                            LESLIE A                           Rico
    URB LA ESPERANZA                         17 BK 03283-LTS                                                 DORADO, PR 00646                   17 BK 03283-LTS
    N8 CALLE 6
    VEGA ALTA, PR 00692

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
143 TORRES NIEVES,                05/11/18   Commonwealth of Puerto         14654              Undetermined* TORRES NIEVES,          05/11/18   Commonwealth of Puerto    14736        Undetermined*
    JOANNE                                   Rico                                                            JOANNE                             Rico
    23 CALLE MARIANA                         17 BK 03283-LTS                                                 RES LA CRUZ APT A 12               17 BK 03283-LTS
    GONZALEZ # C                                                                                             MOCA, PR 00676
    MOCA, PR 00676-4150

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
144 TORRES OCASIO,                07/06/18   Commonwealth of Puerto         147565             Undetermined* TORRES OCASIO,          07/06/18   Commonwealth of Puerto    160152       Undetermined*
    LISMARIE                                 Rico                                                            LISMARIE                           Rico
    SECT CAMASELLAS                          17 BK 03283-LTS                                                 SECTOR CAMASELLES                  17 BK 03283-LTS
    SECA 5938 CARR 872                                                                                       5938 CARR 872
    TOA BAJA, PR 00952                                                                                       SABANA SECA, PR 00952

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
145 TORRES OCASIO,                07/06/18   Commonwealth of Puerto         158531             Undetermined* TORRES OCASIO,          07/06/18   Commonwealth of Puerto    160152       Undetermined*
    LISMARIE                                 Rico                                                            LISMARIE                           Rico
    SECTOR CAMASELLES                        17 BK 03283-LTS                                                 SECTOR CAMASELLES                  17 BK 03283-LTS
    5938 CARR 872                                                                                            5938 CARR 872
    SABANA SECA, PR 00952                                                                                    SABANA SECA, PR 00952

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
146 TORRES ORTIZ, JOSE            05/09/18   Commonwealth of Puerto         12537                $ 183,120.00 TORRES ORTIZ, JOSE     05/09/18   Commonwealth of Puerto    12588          $ 183,120.00
    HC 7 BOX 98519                           Rico                                                             HC7 BOX 98519                     Rico
    ARECIBO, PR 00612                        17 BK 03283-LTS                                                  ARECIBO, PR 00612                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 28 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 30 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
147 TORRES ORTIZ, MARIA           06/24/18   Commonwealth of Puerto         47438              Undetermined* TORRES ORTIZ, MARIA      06/26/18   Commonwealth of Puerto    98973        Undetermined*
    E.                                       Rico                                                            E.                                  Rico
    HC01 BOX 5843                            17 BK 03283-LTS                                                 HC01 BOX 5843                       17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
148 TORRES ORTIZ, MELVIN          05/22/18   Commonwealth of Puerto         20215              Undetermined* TORRES ORTIZ, MELVIN     05/22/18   Commonwealth of Puerto    22118        Undetermined*
    PO BOX 546                               Rico                                                            PO BOX 546                          Rico
    SALINAS, PR 00751                        17 BK 03283-LTS                                                 SALINAS, PR 00751                   17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
149 TORRES PEREZ, LUZ D.          06/28/18   Commonwealth of Puerto         125910             Undetermined* TORRES PEREZ, LUZ D.     06/29/18   Commonwealth of Puerto    148519       Undetermined*
    PO BOX 2520                              Rico                                                            P.O. BOX 2520                       Rico
    ISABELA, PR 00662                        17 BK 03283-LTS                                                 ISABELA, PR 00662                   17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
150 TORRES PEREZ, LUZ D.          06/29/18   Commonwealth of Puerto         136089             Undetermined* TORRES PEREZ, LUZ D.     06/29/18   Commonwealth of Puerto    148519       Undetermined*
    P.O. BOX 2520                            Rico                                                            P.O. BOX 2520                       Rico
    ISABELA, PR 00662                        17 BK 03283-LTS                                                 ISABELA, PR 00662                   17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
151 TORRES PEREZ, LUZ D.          06/29/18   Commonwealth of Puerto         145483             Undetermined* TORRES PEREZ, LUZ D.     06/29/18   Commonwealth of Puerto    164538       Undetermined*
    P.O. BOX 2520                            Rico                                                            PO BOX 2520                         Rico
    ISABELA, PR 00662                        17 BK 03283-LTS                                                 ISABELA, PR 00662                   17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
152 TORRES PICCOLI, LOUIS         05/29/18   Commonwealth of Puerto         45100              Undetermined* TORRES PICCOLI, LOUIS    05/29/18   Commonwealth of Puerto    48593        Undetermined*
    J.                                       Rico                                                            J.                                  Rico
    URB. JARDINES CALLE 8                    17 BK 03283-LTS                                                 URB. JARDINES CALLE                 17 BK 03283-LTS
     B-30                                                                                                    #8 B-30
    SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 29 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                               Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 31 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
153 TORRES PIZARRO,               06/29/18   Commonwealth of Puerto         133986             Undetermined* TORRES PIZARRO,           06/29/18   Commonwealth of Puerto    147513       Undetermined*
    SAMMY                                    Rico                                                            SAMMY                                Rico
    HC 01 BOX 3082                           17 BK 03283-LTS                                                 HC1 BOX 3082                         17 BK 03283-LTS
    LOIZA, PR 00772-9705                                                                                     LOIZA, PR 00772-9705

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
154 TORRES RAMOS, ADA N.          06/28/18   Commonwealth of Puerto         141828             Undetermined* TORRES RAMOS, ADA N.      06/28/18   Commonwealth of Puerto    154635       Undetermined*
    HC1 6137                                 Rico                                                            HC 1 6137                            Rico
    ARROYO, PR 00714                         17 BK 03283-LTS                                                 ARROYO, PR 00714                     17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
155 TORRES RAMOS, ADA N.          06/28/18   Commonwealth of Puerto         148909             Undetermined* TORRES RAMOS, ADA N.      06/28/18   Commonwealth of Puerto    154635       Undetermined*
    HC-1 6137                                Rico                                                            HC 1 6137                            Rico
    ARROYO, PR 00714                         17 BK 03283-LTS                                                 ARROYO, PR 00714                     17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
156 TORRES RIVERA,                05/29/18   Commonwealth of Puerto         24628              Undetermined* TORRES RIVERA,            05/29/18   Commonwealth of Puerto    40109        Undetermined*
    ANTONIO                                  Rico                                                            ANTONIO                              Rico
    1323 CALLE J PARCELAS                    17 BK 03283-LTS                                                 1325 CALLE J                         17 BK 03283-LTS
    SOLEDAD                                                                                                  MAYAGUEZ, PR 00682
    MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
157 TORRES RIVERA,                05/29/18   Commonwealth of Puerto         40055              Undetermined* TORRES RIVERA,            05/29/18   Commonwealth of Puerto    40109        Undetermined*
    ANTONIO                                  Rico                                                            ANTONIO                              Rico
    PARC SOLEDAD                             17 BK 03283-LTS                                                 1325 CALLE J                         17 BK 03283-LTS
    1325 CALLE J                                                                                             MAYAGUEZ, PR 00682
    MAYAGUEZ, PR 00682

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
158 TORRES RIVERA, JOSE A         03/19/18   Commonwealth of Puerto          3477              Undetermined* TORRES RIVERA, JOSE A     03/19/18   Commonwealth of Puerto    3673         Undetermined*
    CONTRY CLUB                              Rico                                                            URB COUNTRY CLUB                     Rico
    CALLE IRLANDA 860 A                      17 BK 03283-LTS                                                 4TA EXT                              17 BK 03283-LTS
    SAN JUAN, PR 00924-1743                                                                                  CALLE IRLANDA 860A
                                                                                                             SAN JUAN, PR 00924-1743

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 30 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 32 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
159 TORRES RODRIGUEZ,             07/06/18   Commonwealth of Puerto         143108                  $ 4,800.00 TORRES RODRIGUEZ,      07/06/18   Commonwealth of Puerto    144678           $ 4,800.00
    DELENISE                                 Rico                                                              DELENISE                          Rico
    #18 CALLE CAMINO DEL                     17 BK 03283-LTS                                                   #18 CALLE CAMINO DEL              17 BK 03283-LTS
    MONTE PAISAJE DEL                                                                                          MONTE PAISAJE DE
    LAGO                                                                                                       LAGO
    LUQUILLO, PR 00773                                                                                         LUQUILLO, PR 00773

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
160 TORRES RODRIGUEZ,             06/22/18   Commonwealth of Puerto         162441             Undetermined* TORRES RODRIGUEZ,        06/28/18   Commonwealth of Puerto    126124       Undetermined*
    HERMINTE                                 Rico                                                            HERMINTE                            Rico
    URB. VILLA MILAGRO                       17 BK 03283-LTS                                                 URB. VILLA MILAGRO                  17 BK 03283-LTS
    45 CALLE RENE                                                                                            45 CALLE RENE
    ALFONSO                                                                                                  ALFONSO
    YAUCO, PR 00698-4511                                                                                     YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
161 TORRES RODRIGUEZ,             05/30/18   Commonwealth of Puerto         23856              Undetermined* TORRES RODRIGUEZ,        05/30/18   Commonwealth of Puerto    38343        Undetermined*
    MILTO L                                  Rico                                                            MILTO L                             Rico
    HC 01 BOX 6308                           17 BK 03283-LTS                                                 HC01                                17 BK 03283-LTS
    YAUCO, PR 00698                                                                                          BOX 6308
                                                                                                             YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
162 TORRES RODRIGUEZ,             06/29/18   Commonwealth of Puerto         67002              Undetermined* TORRES RODRIGUEZ,        06/29/18   Commonwealth of Puerto    73984        Undetermined*
    VILMA                                    Rico                                                            VILMA                               Rico
    URB. MABU CALLE 4 F 7                    17 BK 03283-LTS                                                 URB. MABU CALLE 4 F 7               17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
163 TORRES ROSARIO,               06/29/18   Commonwealth of Puerto         81442              Undetermined* TORRES ROSARIO,          06/29/18   Commonwealth of Puerto    113570       Undetermined*
    SULIMAR                                  Rico                                                            SULIMAR                             Rico
    BOX 915                                  17 BK 03283-LTS                                                 BOX 915                             17 BK 03283-LTS
    AIBONITO, PR 00705                                                                                       AIBONITO, PR 00705

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 31 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                            Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 33 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
164 TORRES RUIZ,                  05/27/18   Commonwealth of Puerto         24016              Undetermined* TORRES RUIZ,           05/27/18   Commonwealth of Puerto    24237        Undetermined*
    WILFREDO                                 Rico                                                            WILFREDO                          Rico
    URB MONTE GRANDE                         17 BK 03283-LTS                                                 URB.MONTE GRANDE-                 17 BK 03283-LTS
    39 CALLE RUBI                                                                                            CALLE RUBI #39
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
165 TORRES SANCHEZ,               06/29/18   Commonwealth of Puerto         69748                $ 10,000.00* TORRES SANCHEZ,       07/03/18   Commonwealth of Puerto    143993         $ 10,000.00*
    YADIRA                                   Rico                                                             YADIRA                           Rico
    PO BOX 21                                17 BK 03283-LTS                                                  PO BOX 21                        17 BK 03283-LTS
    TOA ALTA, PR 00954                                                                                        TOA ALTA, PR 00954

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
166 TORRES SANTANA, LUIS          05/18/18   Commonwealth of Puerto         38255              Undetermined* TORRES SANTANA, LUIS   05/18/18   Commonwealth of Puerto    49154        Undetermined*
    A                                        Rico                                                            A                                 Rico
    PO BOX 541                               17 BK 03283-LTS                                                 PO BOX 541                        17 BK 03283-LTS
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
167 TORRES SANTIAGO,              05/01/18   Commonwealth of Puerto          9930              Undetermined* TORRES SANTIAGO,       05/04/18   Commonwealth of Puerto    10349        Undetermined*
    JAVIER                                   Rico                                                            JAVIER                            Rico
    URB. EL MADVIGAL                         17 BK 03283-LTS                                                 URB EL MADRIGAL                   17 BK 03283-LTS
    CALLE 23                                                                                                 CALLE 23
    PONCE, PR 00730                                                                                          S18
                                                                                                             PONCE, PR 00732

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
168 TORRES SANTIAGO,              06/20/18   Commonwealth of Puerto         167678               $ 54,968.37* TORRES SANTIAGO,      06/22/18   Commonwealth of Puerto    38187           $ 54,968.37
    ROSA M                                   Rico                                                             ROSA M                           Rico
    103 CALLE SAN JOSE                       17 BK 03283-LTS                                                  103 CALLE SAN JOSE               17 BK 03283-LTS
    OESTE                                                                                                     OESTE
    GUAYAMA, PR 00784                                                                                         GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 32 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 34 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
169 TORRES SEPULVEDA,             07/02/18   Commonwealth of Puerto         101955             Undetermined* TORRES SEPULVEDA,       07/02/18   Commonwealth of Puerto    147762       Undetermined*
    JORANNIE                                 Rico                                                            JORANNIE                           Rico
    URB COLINAS DE                           17 BK 03283-LTS                                                 CALLE EQ 134                       17 BK 03283-LTS
    PRADO                                                                                                    NOA VIDA
    79 CALLE REY JORGE                                                                                       PONCE, PR 00728
    JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
170 TORRES TORRES,                06/29/18   Commonwealth of Puerto         119057             Undetermined* TORRES TORRES,          06/29/18   Commonwealth of Puerto    142305       Undetermined*
    JANELLY                                  Rico                                                            JANELLY                            Rico
    148 OESTE BALDIORITY                     17 BK 03283-LTS                                                 148 OESTA BALDONOTY                17 BK 03283-LTS
    GUYAMA, PR 00784                                                                                         GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
171 TORRES TORRES, JOSE           06/24/18   Commonwealth of Puerto         48478              Undetermined* TORRES TORRES, JOSE     06/29/18   Commonwealth of Puerto    144030       Undetermined*
    M                                        Rico                                                            M                                  Rico
    ALTURAS DE PENUELAS                      17 BK 03283-LTS                                                 ALTURAS 2 CALLE 8 E39              17 BK 03283-LTS
    2                                                                                                        PENUELAS, PR 00624
    CALLE 8 E-39
    PENUELAS, PR 00624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
172 TORRES, ALEXANDER             05/01/18   Commonwealth of Puerto          9842              Undetermined* TORRES, ALEXANDER       05/01/18   Commonwealth of Puerto    9884         Undetermined*
    GONZALEZ                                 Rico                                                            GONZALEZ                           Rico
    VILLAS DE RIO CANAS                      17 BK 03283-LTS                                                 VILLAS DE RIO CANAS                17 BK 03283-LTS
    T N 1020 CALLE LUIS                                                                                      T N 1020 CALLE LUIS
    PONCE, PR 00728-1949                                                                                     PONCE, PR 00728-1949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
173 TORRES, YOLANDA               06/29/18   Commonwealth of Puerto         87447                 $ 57,799.20 TORRES, YOLANDA        07/02/18   Commonwealth of Puerto    145613          $ 57,799.20
    P.O. BOX 9381 COTTO                      Rico                                                             P.O. BOX 9381 COTTO               Rico
    STATION                                  17 BK 03283-LTS                                                  STATION                           17 BK 03283-LTS
    ARECIBO, PR 00613                                                                                         ARECIBO, PR 00613

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 33 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                               Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 35 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
174 TOWER ACQUISITION             06/07/18   Commonwealth of Puerto         61328              Undetermined* TOWER ACQUISITION         06/28/18   Commonwealth of Puerto    67188        Undetermined*
    GROUP, LLC                               Rico                                                            GROUP, LLC                           Rico
    REBECA VARGAS RUIZ                       17 BK 03283-LTS                                                 REBECA VARGAS RUIZ                   17 BK 03283-LTS
    P.O. BOX 194089                                                                                          P.O. BOX 194089
    SAN JUAN, PR 00917                                                                                       SAN JUAN, PR 00917

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
175 TOWER EQUITY GROUP,           06/07/18   Commonwealth of Puerto         71425              Undetermined* TOWER EQUITY GROUP,       06/28/18   Commonwealth of Puerto    67458        Undetermined*
    LLC                                      Rico                                                            LLC                                  Rico
    ATTN: REBECA VARGAS                      17 BK 03283-LTS                                                 REBECA VARGAS RUIZ                   17 BK 03283-LTS
    RUIZ                                                                                                     P.O. BOX 194089
    P.O. BOX 194089                                                                                          SAN JUAN, PR 00917
    SAN JUAN, PR 00917

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
176 U.S. DEPARTMENT OF            03/23/18   Commonwealth of Puerto          2052               $ 7,939,723.21 U.S. DEPARTMENT OF      04/30/18   Commonwealth of Puerto    8177         $ 7,939,723.21
    LABOR                                    Rico                                                              LABOR                              Rico
    ATTN: MICHAEL R.                         17 BK 03283-LTS                                                   ATTN: MICHAEL R.                   17 BK 03283-LTS
    HARTMAN, SENIOR                                                                                            HARTMAN, SENIOR
    TRIAL ATTORNEY                                                                                             TRIAL ATTORNEY
    201 VARICK STREET,                                                                                         201 VARICK STREET,
    ROOM 983                                                                                                   ROOM 983
    NEW YORK, NY 10014                                                                                         NEW YORK, NY 10014

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
177 UNIVERSAL CARE CORP           04/02/18   Commonwealth of Puerto          5629                   $ 2,232.00 UNIVERSAL CARE CORP     04/09/18   Commonwealth of Puerto    6535             $ 2,232.00
    PO BOX 1051                              Rico                                                              PO BOX 1051                        Rico
    SABANA SECA, PR 00952                    17 BK 03283-LTS                                                   SABANA SECA, PR 00952              17 BK 03283-LTS
    -1051                                                                                                      -1051

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
178 UNIVERSAL CARE                04/02/18   Commonwealth of Puerto          4779               $ 1,156,948.80 UNIVERSAL CARE          04/09/18   Commonwealth of Puerto    6630         $ 1,156,948.80
    CORPORATION                              Rico                                                              CORPORATION                        Rico
    PO BOX 1051                              17 BK 03283-LTS                                                   PO BOX 1051                        17 BK 03283-LTS
    SABANA SECA, PR 00952                                                                                      SABANA SECA, PR 00952
    -1051                                                                                                      -1051

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 34 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 36 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
179 UNIVERSIDAD                   04/17/18   Commonwealth of Puerto          5819                 $ 16,200.00 UNIVERSIDAD            04/25/18   Commonwealth of Puerto    8761            $ 16,200.00
    CENTRAL DEL CARIBE                       Rico                                                             CENTRAL DEL CARIBE                Rico
    PO BOX 60327                             17 BK 03283-LTS                                                  PO BOX 60327                      17 BK 03283-LTS
    BAYAMON, PR 00960-                                                                                        BAYAMON, PR 00960-
    6032                                                                                                      6032

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
180 UNIVERSITY OF                 06/29/18   Commonwealth of Puerto         78244                $ 679,110.43 UNIVERSITY OF          06/29/18   Commonwealth of Puerto    93752          $ 679,110.43
    PUERTO RICO                              Rico                                                             PUERTO RICO                       Rico
    RETIREMENT SYSTEM                        17 BK 03283-LTS                                                  RETIREMENT SYSTEM                 17 BK 03283-LTS
    TRUST                                                                                                     TRUST
    AMRC, LLC ATTN JOSE                                                                                       AMRC, LLC ATTN. JOSE
    L. RAMIREZ-COLL                                                                                           L. RAMIREZ- COLL
    P.O. BOX 13128                                                                                            P.O. BOX 13128
    SAN JUAN, PR 00908                                                                                        SAN JUAN, PR 00908

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
181 VAELLO BRUNET,                04/16/18   Commonwealth of Puerto          7508              Undetermined* VAELLO BRUNET,          07/06/18   Commonwealth of Puerto    159949       Undetermined*
    ILEANA                                   Rico                                                            ILEANA                             Rico
    URB MARINA BAHIA                         17 BK 03283-LTS                                                 URB MARINA BAHIA                   17 BK 03283-LTS
    PLAZA 30 MF 12                                                                                           PLAZA 30 MF-12
    CATANO, PR 00962                                                                                         CATANO, PR 00962

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
182 VALDES GARCIA, ROSA           06/29/18   Commonwealth of Puerto         48189              Undetermined* VALDES GARCIA, ROSA     06/29/18   Commonwealth of Puerto    88896        Undetermined*
    BUZON 274                                Rico                                                            BO MARIANA BUZON                   Rico
    NAGUABO, PR 00718                        17 BK 03283-LTS                                                 274                                17 BK 03283-LTS
                                                                                                             NAGUABO, PR 00718

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
183 VALENTIN DELGADO,             06/29/18   Commonwealth of Puerto         140300             Undetermined* VALENTIN DELGADO,       06/29/18   Commonwealth of Puerto    156730       Undetermined*
    CARMEN                                   Rico                                                            CARMEN                             Rico
    URB. LAS MONJITAS 198                    17 BK 03283-LTS                                                 URB. LAS MONJITOS 198              17 BK 03283-LTS
    CALLE FATIMA                                                                                             CALLE FATIMA
    PONCE, PR 00730-3905                                                                                     PONCE, PR 00730-3905

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 35 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                            Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 37 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
184 VALENTIN DIAZ, PABLO          05/25/18   Commonwealth of Puerto         35729              Undetermined* VALENTIN DIAZ, PABLO   05/25/18   Commonwealth of Puerto    36265        Undetermined*
    URB JARDINES DE                          Rico                                                            URB. JARDINES DE                  Rico
    GUAMANI                                  17 BK 03283-LTS                                                 GUAMANI                           17 BK 03283-LTS
    G-10 CALLE 3                                                                                             CALLE 3 G-10
    GUAYAMA, PR 00784                                                                                        GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
185 VALENTIN                      07/02/18   Commonwealth of Puerto         122970             Undetermined* VALENTIN               07/02/18   Commonwealth of Puerto    140018       Undetermined*
    ECHEVARRIA,                              Rico                                                            ECHEVARRIA,                       Rico
    GRACIELA                                 17 BK 03283-LTS                                                 GRACIELA                          17 BK 03283-LTS
    PMB 113                                                                                                  PO BOX 80,000
    PO BOX 80000                                                                                             ISABELA, PR 00662
    ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
186 VALENTIN                      06/02/18   Commonwealth of Puerto         123793             Undetermined* VALENTIN               07/02/18   Commonwealth of Puerto    140018       Undetermined*
    ECHEVARRIA,                              Rico                                                            ECHEVARRIA,                       Rico
    GRACIELA                                 17 BK 03283-LTS                                                 GRACIELA                          17 BK 03283-LTS
    PMB 113                                                                                                  PO BOX 80,000
    PO BOX 80000                                                                                             ISABELA, PR 00662
    ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
187 VALENTIN GUZMAN,              05/22/18   Commonwealth of Puerto         21971              Undetermined* VALENTIN GUZMAN,       05/24/18   Commonwealth of Puerto    22889        Undetermined*
    DANNY R                                  Rico                                                            DANNY R                           Rico
    PO BOX 354                               17 BK 03283-LTS                                                 PO BOX 354                        17 BK 03283-LTS
    ANGELES, PR 00611                                                                                        ANGELES, PR 00611

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
188 VALENTIN MENDEZ,              07/09/18   Commonwealth of Puerto         161006             Undetermined* VALENTIN MENDEZ,       07/09/18   Commonwealth of Puerto    161215       Undetermined*
    IRIS Y.                                  Rico                                                            IRIS Y.                           Rico
    MUNOZ RIVERA #31                         17 BK 03283-LTS                                                 MUNOZ RIVERA #31                  17 BK 03283-LTS
    OESTE                                                                                                    OESTE
    RINCON, PR 00677                                                                                         RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 36 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                           Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 38 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
189 VALENTIN ROSADO,              05/17/18   Commonwealth of Puerto         20139              Undetermined* VALENTIN ROSADO,      05/17/18   Commonwealth of Puerto    20416        Undetermined*
    JOSE M                                   Rico                                                            JOSE M                           Rico
    HC01 BOX 3393                            17 BK 03283-LTS                                                 HC-01 BOX 3393                   17 BK 03283-LTS
    BO TANAMA                                                                                                BO.TANAMA
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
190 VALENTIN ROSADO,              05/17/18   Commonwealth of Puerto         20175              Undetermined* VALENTIN ROSADO,      05/17/18   Commonwealth of Puerto    20416        Undetermined*
    JOSE M                                   Rico                                                            JOSE M                           Rico
    HC-01 BOX 3393                           17 BK 03283-LTS                                                 HC-01 BOX 3393                   17 BK 03283-LTS
    BO. TANAMA                                                                                               BO.TANAMA
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
191 VALENTIN SANTIAGO,            06/29/18   Commonwealth of Puerto         65896                 $ 34,271.49 VALENTIN SANTIAGO,   06/29/18   Commonwealth of Puerto    78988           $ 34,271.49
    SHEILA                                   Rico                                                             SHEILA                          Rico
    URB SULTANA                              17 BK 03283-LTS                                                  URB SULTANA                     17 BK 03283-LTS
    61 RONDA                                                                                                  61 RONDA
    MAYAGUEZ, PR 00680                                                                                        MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
192 VALENTIN SUAREZ,              06/29/18   Commonwealth of Puerto         76799              Undetermined* VALENTIN SUAREZ,      07/02/18   Commonwealth of Puerto    120213       Undetermined*
    CARMEN LYDIA                             Rico                                                            CARMEN LYDIA                     Rico
    5902 MEMORIAL HWY                        17 BK 03283-LTS                                                 5902 MEMORIAL HWY                17 BK 03283-LTS
    APT. 1113                                                                                                APT 1113
    TAMPA, FL 33615                                                                                          TAMPA, FL 33615

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
193 VALENTIN SUAREZ,              06/29/18   Commonwealth of Puerto         78687              Undetermined* VALENTIN SUAREZ,      07/02/18   Commonwealth of Puerto    120213       Undetermined*
    CARMEN LYDIA                             Rico                                                            CARMEN LYDIA                     Rico
    5902 MEMORIAL HWY                        17 BK 03283-LTS                                                 5902 MEMORIAL HWY                17 BK 03283-LTS
    APT 1113                                                                                                 APT 1113
    TAMPA, FL 33615                                                                                          TAMPA, FL 33615

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 37 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 39 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                   NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
194 VALLADARES CRESPO,            06/29/18   Commonwealth of Puerto         90080                   $ 7,200.00 VALLADARES CRESPO,     06/29/18   Commonwealth of Puerto    151024           $ 7,200.00
    NORBERTO                                 Rico                                                              NORBERTO                          Rico
    URB. BUENAVENTURA                        17 BK 03283-LTS                                                   1251 MAGNOLIA                     17 BK 03283-LTS
    1251 CALLE MAGNOLIA                                                                                        MAYAGUEZ, PR 00682
    MAYAGUEZ, PR 00682

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
195 VALLE VALDIVIESO,             06/29/18   Commonwealth of Puerto         99741                       $ 703.68 VALLE VALDIVIESO,    06/29/18   Commonwealth of Puerto    113154            $ 703.68
    LUZ                                      Rico                                                                LUZ                             Rico
    COND COLINA REAL                         17 BK 03283-LTS                                                     MILAGROS ACEVEDO                17 BK 03283-LTS
    2000 AVE F RINCON BOX                                                                                        COLON
    1405                                                                                                         AVE F RINCON
    SAN JUAN, PR 00926                                                                                           BOX 1405
                                                                                                                 COND COLINA REAL
                                                                                                                 2000
                                                                                                                 SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
196 VALLEJO GORDIAN,              06/27/18   Commonwealth of Puerto         56488              Undetermined* VALLEJO GORDIAN,         06/29/18   Commonwealth of Puerto    164531       Undetermined*
    MARIA E                                  Rico                                                            MARIA E                             Rico
    URB JARDINES SAN                         17 BK 03283-LTS                                                 URB JARDINES SAN                    17 BK 03283-LTS
    LORENZO                                                                                                  LORENZO
    CALLE # 2, A-7                                                                                           CALLE #2, A-7
    SAN LORENZO, PR 00754                                                                                    SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
197 VALLEJO GORDIAN,              06/28/18   Commonwealth of Puerto         59345              Undetermined* VALLEJO GORDIAN,         06/29/18   Commonwealth of Puerto    142742       Undetermined*
    MARIA E.                                 Rico                                                            MARIA E.                            Rico
    URB. JARDINES DE SAN                     17 BK 03283-LTS                                                 URB. JARDINES DE SAN                17 BK 03283-LTS
    LORENZO, CALLE # 2                                                                                       LORENZO, CALLE #2
    A-7                                                                                                      A7
    SAN LORENZO, PR 00754                                                                                    SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
198 VALLES VAZQUEZ,               06/04/18   Commonwealth of Puerto         79294              Undetermined* VALLES VAZQUEZ,          06/26/18   Commonwealth of Puerto    71791        Undetermined*
    HILDA J                                  Rico                                                            HILDA J                             Rico
    URB LOS CAOBOS                           17 BK 03283-LTS                                                 2361 PENDULA LOS                    17 BK 03283-LTS
    #2361 CALLE PENDULA                                                                                      CAOBOS
    PONCE, PR 00716-2713                                                                                     PONCE, PR 00716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 38 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 40 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
199 VARGAS ACOSTA,                06/29/18   Commonwealth of Puerto         91247              Undetermined* VARGAS ACOSTA,          06/29/18   Commonwealth of Puerto    114294       Undetermined*
    PABLO                                    Rico                                                            PABLO                              Rico
    P.O. BOX 387                             17 BK 03283-LTS                                                 P.O. BOX 387                       17 BK 03283-LTS
    LAJAS, PR 00667                                                                                          LAJAS, PR 00667

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
200 VARGAS MENDEZ,                07/03/18   Commonwealth of Puerto         154158             Undetermined* VARGAS MENDEZ,          07/09/18   Commonwealth of Puerto    165455       Undetermined*
    ALMINDA                                  Rico                                                            ALMINDA                            Rico
    HC-05 BOX 10709                          17 BK 03283-LTS                                                 HC 5 BOX 10709                     17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
201 VARGAS MOJICA, ANA            06/29/18   Commonwealth of Puerto         96053              Undetermined* VARGAS MOJICA, ANA      06/29/18   Commonwealth of Puerto    97999        Undetermined*
    LUISA                                    Rico                                                            LUISA                              Rico
    SAN ANTONIO PARCELA                      17 BK 03283-LTS                                                 SAN ANTONIO PARCELA                17 BK 03283-LTS
    14                                                                                                       14
    DORADO, PR 00646                                                                                         DORADO, PR 00646

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
202 VARGAS SEPULVEDA,             06/29/18   Commonwealth of Puerto         86278              Undetermined* VARGAS SEPULVEDA,       07/06/18   Commonwealth of Puerto    152603       Undetermined*
    EMELINA                                  Rico                                                            EMELINA                            Rico
    CALLE GARDENIA #490                      17 BK 03283-LTS                                                 CALLE GARDENIA #490                17 BK 03283-LTS
    URB. EL VALLE                                                                                            URB. EL VALLE
    SEGUNDA EXTENSIÓN                                                                                        SEGUNDA EXTENSION
    LAJAS, PR 00667                                                                                          LAJAS, PR 00667

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
203 VARGAS ZAPATA,                07/06/18   Commonwealth of Puerto         111411               $ 19,800.00* VARGAS ZAPATA,         07/06/18   Commonwealth of Puerto    135593         $ 19,800.00*
    ISABEL Y.                                Rico                                                             ISABEL Y.                         Rico
    PO BOX 1015                              17 BK 03283-LTS                                                  PO BOX 1015                       17 BK 03283-LTS
    LAJAS, PR 00667-1015                                                                                      LAJAS, PR 00667-1015

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
204 VARGAS-NIEVES,                07/06/18   Commonwealth of Puerto         152110             Undetermined* VARGAS-NIEVES,          07/06/18   Commonwealth of Puerto    159391       Undetermined*
    MARIA M.                                 Rico                                                            MARIA M.                           Rico
    P.O. BOX 418                             17 BK 03283-LTS                                                 P.O. BOX 418                       17 BK 03283-LTS
    CAMUY, PR 00627                                                                                          CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 39 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 41 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
205 VAZQUEZ APONTE,               04/25/18   Commonwealth of Puerto          8229              Undetermined* VAZQUEZ APONTE,         04/25/18   Commonwealth of Puerto    8745         Undetermined*
    WALTER                                   Rico                                                            WALTER                             Rico
    ESTANCIAS                                17 BK 03283-LTS                                                 ESTANCIAS                          17 BK 03283-LTS
    PRESBITERIA 216                                                                                          PRESBITERIANO APT
    HORMIGUEROS, PR                                                                                          216
    00660                                                                                                    HORMIGUEROS, PR
                                                                                                             00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
206 VAZQUEZ APONTE,               04/25/18   Commonwealth of Puerto          8555              Undetermined* VAZQUEZ APONTE,         04/25/18   Commonwealth of Puerto    8745         Undetermined*
    WALTER                                   Rico                                                            WALTER                             Rico
    ESTANCIAS                                17 BK 03283-LTS                                                 ESTANCIAS                          17 BK 03283-LTS
    PRESBITERIANAS                                                                                           PRESBITERIANO APT
    APTO 216                                                                                                 216
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
207 VAZQUEZ DE JESUS,             06/13/18   Commonwealth of Puerto         41073               $ 160,000.00* VAZQUEZ DE JESUS,      07/06/18   Commonwealth of Puerto    160899        $ 160,000.00*
    MICHAEL                                  Rico                                                             MICHAEL                           Rico
    LOIZA STATION PO BOX                     17 BK 03283-LTS                                                  LOIZA STATION PO BOX              17 BK 03283-LTS
    6301                                                                                                      6301
    SAN JUAN, PR 00914                                                                                        SAN JUAN, PR 00914

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
208 VAZQUEZ MORALES,              04/13/18   Commonwealth of Puerto          6758              Undetermined* VAZQUEZ MORALES,        04/13/18   Commonwealth of Puerto    7292         Undetermined*
    KELVIN                                   Rico                                                            KELVIN                             Rico
    #613 CALLE RAMOS                         17 BK 03283-LTS                                                 PARCELAS EL TUQUE                  17 BK 03283-LTS
    ANTONINI                                                                                                 #613 CALLE RAMOS
    PARCELAS EL TUQUE                                                                                        ANTONINI
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
209 VAZQUEZ OLIVIERI,             05/29/18   Commonwealth of Puerto         26607              Undetermined* VAZQUEZ OLIVIERI,       05/29/18   Commonwealth of Puerto    40524        Undetermined*
    MICHELLE                                 Rico                                                            MICHELLE                           Rico
    URB. GLENVIEW                            17 BK 03283-LTS                                                 URB GLENVIEW                       17 BK 03283-LTS
    GARDENS                                                                                                  GARDENS A6
    A-6 CALLE W-24B                                                                                          CALLE ESCOCIA W24B
    PONCE, PR 00730-1617                                                                                     PONCE, PR 00730

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 40 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 42 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
210 VAZQUEZ REYES,                04/16/18   Commonwealth of Puerto          7399              Undetermined* VAZQUEZ REYES,          04/16/18   Commonwealth of Puerto    7401         Undetermined*
    KARIAM S                                 Rico                                                            KARIAM S                           Rico
    URB ALTAGRACIA                           17 BK 03283-LTS                                                 URB. ALTAGRACIA                    17 BK 03283-LTS
    C RUISENOR N3                                                                                            CALLE RUISENOR 1N-3
    TOA BAJA, PR 00949                                                                                       TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
211 VAZQUEZ RIVAS, JULIO          05/25/18   Commonwealth of Puerto         30936              Undetermined* VAZQUEZ RIVAS, JULIO    05/25/18   Commonwealth of Puerto    32159        Undetermined*
    HC 30 BOX 35812                          Rico                                                            HC 30 BOX 35812                    Rico
    SAN LORENZO, PR 00754                    17 BK 03283-LTS                                                 SAN LORENZO, PR 00754              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
212 VAZQUEZ RIVERA,               06/29/18   Commonwealth of Puerto         125390             Undetermined* VAZQUEZ RIVERA,         06/29/18   Commonwealth of Puerto    139205       Undetermined*
    DOMINGO                                  Rico                                                            DOMINGO                            Rico
    BO. SANTA CRUZ                           17 BK 03283-LTS                                                 BO. SANTA CRUZ                     17 BK 03283-LTS
    BUZON                                                                                                    BUZON HC-01 11346
    HC 01 BOX 11346                                                                                          CAROLINA, PR 00985
    CAROLINA, PR 00985

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
213 VAZQUEZ RODRIGUEZ,            06/07/18   Commonwealth of Puerto         108434             Undetermined* VAZQUEZ RODRIGUEZ,      06/07/18   Commonwealth of Puerto    114566       Undetermined*
    VICTOR M                                 Rico                                                            VICTOR M                           Rico
    F-8 CALLE COFRESI                        17 BK 03283-LTS                                                 URB PARQUE ECUESTRE                17 BK 03283-LTS
    CAROLINA, PR 00987                                                                                       F8 CALLE COFRESI
                                                                                                             CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
214 VAZQUEZ ROSADO,               06/28/18   Commonwealth of Puerto         126329             Undetermined* VAZQUEZ ROSADO,         07/09/18   Commonwealth of Puerto    161023       Undetermined*
    ALBERTO                                  Rico                                                            ALBERTO                            Rico
    N-2 C/ LA CONCHA, URB                    17 BK 03283-LTS                                                 DORADO DEL MAR                     17 BK 03283-LTS
    DORADO DEL MAR                                                                                           N 2 CALLE LA CONCHA
    DORADO, PR 00646                                                                                         DORADO, PR 00646

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 41 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 43 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
215 VAZQUEZ ROSARIO,              06/07/18   Commonwealth of Puerto         49462              Undetermined* VAZQUEZ ROSARIO,        06/07/18   Commonwealth of Puerto    49532        Undetermined*
    MILADY                                   Rico                                                            MILADY                             Rico
    HC 10 BOX 8148                           17 BK 03283-LTS                                                 H-C 10 BOX 8148                    17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
216 VAZQUEZ ROSARIO,              06/07/18   Commonwealth of Puerto         49527              Undetermined* VAZQUEZ ROSARIO,        06/07/18   Commonwealth of Puerto    49532        Undetermined*
    MILADY                                   Rico                                                            MILADY                             Rico
    HC 10 BOX 8148                           17 BK 03283-LTS                                                 H-C 10 BOX 8148                    17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
217 VAZQUEZ RUIZ, MARIA           06/28/18   Commonwealth of Puerto         138846             Undetermined* VAZQUEZ RUIZ, MARIA     06/28/18   Commonwealth of Puerto    164443       Undetermined*
    ENEIDA                                   Rico                                                            ENEIDA                             Rico
    TURABO GARDENS                           17 BK 03283-LTS                                                 R-5 #30                            17 BK 03283-LTS
    CALLE 32 R-5 #30                                                                                         CALLE 32 TURABO
    CAGUAS, PR 00725                                                                                         GARDENS
                                                                                                             CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
218 VAZQUEZ SANTANA,              06/28/18   Commonwealth of Puerto         126499                $ 7,200.00* VAZQUEZ SANTANA,       07/02/18   Commonwealth of Puerto    98475           $ 7,200.00*
    ROSALINA                                 Rico                                                             ROSALINA                          Rico
    566 FALCON AVE                           17 BK 03283-LTS                                                  566 FALCON AVE                    17 BK 03283-LTS
    LAKELAND, FL 33815                                                                                        LAKELAND, FL 33815

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
219 VAZQUEZ SOLIS, FELIX          06/29/18   Commonwealth of Puerto         153510                $ 43,663.60 VAZQUEZ SOLIS, FELIX   06/29/18   Commonwealth of Puerto    158705          $ 43,663.60
    RR 3 BOX 3716                            Rico                                                             RR 3 BOX 3716                     Rico
    SAN JUAN, PR 00926                       17 BK 03283-LTS                                                  SAN JUAN, PR 00926                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 42 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                                Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 44 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
220 VAZQUEZ TIRADO,               05/07/18   Commonwealth of Puerto         10983              Undetermined* VAZQUEZ TIRADO,            05/07/18   Commonwealth of Puerto    11393        Undetermined*
    JEICK                                    Rico                                                            JEICK                                 Rico
    VIRGEN DEL POZO                          17 BK 03283-LTS                                                 VIRGEN DEL POZO EDIF.                 17 BK 03283-LTS
    EDIF E APT 526                                                                                           E
    SABANA GRANDE, PR                                                                                        APART. #526
    00637                                                                                                    SABANA GRANDE, PR
                                                                                                             00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
221 VAZQUEZ TORRES,               06/28/18   Commonwealth of Puerto         70434               $ 150,000.00* VAZQUEZ TORRES,           06/28/18   Commonwealth of Puerto    74079         $ 150,000.00*
    HARRISOL                                 Rico                                                             HARRISOL                             Rico
    ARNALDO ELIAS                            17 BK 03283-LTS                                                  PO BOX 191841                        17 BK 03283-LTS
    PO BOX 191841                                                                                             SAN JUAN, PR 00919-1841
    SAN JUAN, PR 00919-1841

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
222 VAZQUEZ TORRES,               06/29/18   Commonwealth of Puerto         74048                 $ 45,000.00 VAZQUEZ TORRES,           06/29/18   Commonwealth of Puerto    80219          $ 45,000.00*
    MARTA                                    Rico                                                             MARTA                                Rico
    OSVALDO TOLEDO                           17 BK 03283-LTS                                                  OSVALDO TOLEDO                       17 BK 03283-LTS
    MARTÍNEZ, ESQ.                                                                                            MARTINEZ, ESQ
    PO BOX 190938                                                                                             PO BOX 190938
    SAN JUAN, PR 00919-0938                                                                                   SAN JUAN, PR 00919-0938

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
223 VAZQUEZ VAZQUEZ,              05/14/18   Commonwealth of Puerto         13663              Undetermined* VAZQUEZ VAZQUEZ,           05/14/18   Commonwealth of Puerto    13674        Undetermined*
    GLENDA LIZ                               Rico                                                            GLENDA LIZ                            Rico
    P.O. BOX 704                             17 BK 03283-LTS                                                 PO BOX 704                            17 BK 03283-LTS
    NARANJITO, PR 00719                                                                                      NARANJITO, PR 00719

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
224 VAZQUEZ VAZQUEZ,              06/29/18   Commonwealth of Puerto         64534              Undetermined* VAZQUEZ VAZQUEZ,           07/09/18   Commonwealth of Puerto    121102       Undetermined*
    LUIS                                     Rico                                                            LUIS                                  Rico
    PO BOX 1359                              17 BK 03283-LTS                                                 P.O. BOX 1359                         17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 43 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 45 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
225 VEGA ALVAREZ, ALMA            05/29/18   Commonwealth of Puerto         38098              Undetermined* VEGA ALVAREZ, ALMA       05/29/18   Commonwealth of Puerto    39983        Undetermined*
    I.                                       Rico                                                            I.                                  Rico
    PO BOX 581                               17 BK 03283-LTS                                                 PO BOX 581                          17 BK 03283-LTS
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
226 VEGA BAEZ, VICTOR M           05/07/18   Commonwealth of Puerto         12066                $ 46,999.34* VEGA BAEZ, VICTOR M     05/11/18   Commonwealth of Puerto    12091           $ 46,999.34
    VILLA EL SALVADOR                        Rico                                                             VILLA EL SALVADOR                  Rico
    CALLE 2 B14                              17 BK 03283-LTS                                                  CALLE 2 B14                        17 BK 03283-LTS
    SAN JUAN, PR 00921                                                                                        SAN JUAN, PR 00921

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
227 VEGA CHAPARRO, ELSA           06/27/18   Commonwealth of Puerto         55443                $ 22,000.00* VEGA CHAPARRO, ELSA     06/28/18   Commonwealth of Puerto    138737         $ 22,000.00*
    I.                                       Rico                                                             I.                                 Rico
    URB SAN CRISTOBAL                        17 BK 03283-LTS                                                  URB SAN CRISTOBAL C2               17 BK 03283-LTS
    C2                                                                                                        AGUADA, PR 00602
    AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
228 VEGA CHAPARRO, ELSA           06/27/18   Commonwealth of Puerto         55503                   $ 6,000.00 VEGA CHAPARRO, ELSA    06/28/18   Commonwealth of Puerto    127555           $ 6,000.00
    I.                                       Rico                                                              I.                                Rico
    URB SAN CRISTOBAL C2                     17 BK 03283-LTS                                                   URB. SAN CRISTOBAL C              17 BK 03283-LTS
    AGUADA, PR 00602                                                                                           2
                                                                                                               AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
229 VEGA CHAPARRO,                06/28/18   Commonwealth of Puerto         65839                   $ 5,000.00 VEGA CHAPARRO,         07/09/18   Commonwealth of Puerto    159799          $ 5,000.00*
    SONIA A.                                 Rico                                                              SONIA A.                          Rico
    PO BOX 736                               17 BK 03283-LTS                                                   PO BOX 736                        17 BK 03283-LTS
    AGUADA, PR 00602                                                                                           AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
230 VEGA CHAPARRO,                06/28/18   Commonwealth of Puerto         67089              Undetermined* VEGA CHAPARRO,           07/09/18   Commonwealth of Puerto    105457       Undetermined*
    SONIA A.                                 Rico                                                            SONIA A.                            Rico
    PO BOX 736                               17 BK 03283-LTS                                                 PO BOX 736                          17 BK 03283-LTS
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 44 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 46 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
231 VEGA CORDERO,                 05/02/18   Commonwealth of Puerto         11319              Undetermined* VEGA CORDERO,            05/02/18   Commonwealth of Puerto    39439        Undetermined*
    WILLIAM                                  Rico                                                            WILLIAM                             Rico
    CALLE 6 NUM. F-17                        17 BK 03283-LTS                                                 URB VILLA ALBA                      17 BK 03283-LTS
    URB. VILLA ALBA                                                                                          C6 F 17
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
232 VEGA DIAZ, LUZ A              06/29/18   Commonwealth of Puerto         74806                 $ 75,000.00 VEGA DIAZ, LUZ A        06/29/18   Commonwealth of Puerto    130816         $ 75,000.00*
    URBANIZACION                             Rico                                                             URB CIUDAD MASSO                   Rico
    CIUDAD MASSO CALLE                       17 BK 03283-LTS                                                  FI-24 CALLE 10                     17 BK 03283-LTS
    10 F1-24                                                                                                  SAN LORENZO, PR 00754
    SAN LORENZO, PR 00754                                                                                     -3624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
233 VEGA DIAZ, LUZ A.             06/29/18   Commonwealth of Puerto         79080                 $ 75,000.00 VEGA DIAZ, LUZ A.       06/29/18   Commonwealth of Puerto    106004          $ 75,000.00
    URBANIZACION                             Rico                                                             URB. CIUDAD MASSO                  Rico
    CIUDAD MASSO CALLE                       17 BK 03283-LTS                                                  CALLE 10 F1-24                     17 BK 03283-LTS
    10 F1-24                                                                                                  SAN LORENZO, PR 00754
    SAN LORENZO, PR 00754                                                                                     -3624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
234 VEGA GARCIA,                  05/11/18   Commonwealth of Puerto         11217              Undetermined* VEGA GARCIA,             06/13/18   Commonwealth of Puerto    103896       Undetermined*
    JONATHAN                                 Rico                                                            JONATHAN                            Rico
    PO BOX. 407                              17 BK 03283-LTS                                                 PO BOX 407                          17 BK 03283-LTS
    NAGUABO, PR 00718                                                                                        NAGUABO, PR 00718

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
235 VEGA GONZALEZ,                06/07/18   Commonwealth of Puerto         61105              Undetermined* VEGA GONZALEZ,           06/07/18   Commonwealth of Puerto    62907        Undetermined*
    GLENDA                                   Rico                                                            GLENDA                              Rico
    PO BOX 1248                              17 BK 03283-LTS                                                 PO BOX 1248                         17 BK 03283-LTS
    ANASCO, PR 00610                                                                                         ANASCO, PR 00610

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
236 VEGA GONZALEZ,                05/25/18   Commonwealth of Puerto         61261              Undetermined* VEGA GONZALEZ,           06/07/18   Commonwealth of Puerto    62907        Undetermined*
    GLENDA                                   Rico                                                            GLENDA                              Rico
    P.O. BOX 1248                            17 BK 03283-LTS                                                 PO BOX 1248                         17 BK 03283-LTS
    ANASCO, PR 00610                                                                                         ANASCO, PR 00610

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 45 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                                Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 47 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
237 VEGA GONZALEZ,                06/29/18   Commonwealth of Puerto         92908              Undetermined* VEGA GONZALEZ,             07/11/18   Commonwealth of Puerto    109320       Undetermined*
    WALESKA                                  Rico                                                            WALESKA                               Rico
    HC 01 BOX 2455                           17 BK 03283-LTS                                                 HC 01 BOX 2455                        17 BK 03283-LTS
    FLORIDA, PR 00650                                                                                        FLORIDA, PR 00650

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
238 VEGA GONZALEZ,                06/29/18   Commonwealth of Puerto         125566             Undetermined* VEGA GONZALEZ,             07/11/18   Commonwealth of Puerto    109320       Undetermined*
    WALESKA                                  Rico                                                            WALESKA                               Rico
    HC-01 BOX 2455                           17 BK 03283-LTS                                                 HC 01 BOX 2455                        17 BK 03283-LTS
    FLORIDA, PR 00650                                                                                        FLORIDA, PR 00650

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
239 VEGA HERNANDEZ,               05/23/18   Commonwealth of Puerto         15613                       $ 60.42 VEGA HERNANDEZ,         05/23/18   Commonwealth of Puerto    17029              $ 60.42
    GILBERTA                                 Rico                                                               GILBERTA                           Rico
    MILAGROS ACEVEDO                         17 BK 03283-LTS                                                    MILAGROS ACEVEDO                   17 BK 03283-LTS
    COLON                                                                                                       COLON
    COND COLINA REAL                                                                                            COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                       2000 AVE F RINCON BOX
    1405                                                                                                        1405
    SAN JUAN, PR 00926                                                                                          SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
240 VEGA OTERO,                   06/28/18   Commonwealth of Puerto         154769             Undetermined* VEGA OTERO,                07/06/18   Commonwealth of Puerto    160016       Undetermined*
    HEMENEGILDO                              Rico                                                            HEMENEGILDO                           Rico
    H.C. 01 BOX 4522                         17 BK 03283-LTS                                                 HC 01 BOX 4522                        17 BK 03283-LTS
    CIALES, PR 00638-9691                                                                                    BO. PESAS CIALES
                                                                                                             CIALES, PR 00638

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
241 VEGA PADILLA,                 06/24/18   Commonwealth of Puerto         47442              Undetermined* VEGA PADILLA,              06/29/18   Commonwealth of Puerto    145493       Undetermined*
    FREDESWINDA                              Rico                                                            FREDESWINDA                           Rico
    CARR. 369 INT. 369                       17 BK 03283-LTS                                                 CENTRO COMERCIAL                      17 BK 03283-LTS
    KM.2.1 INTERIOR                                                                                          MAGINAS #400 PMB 123
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 46 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 48 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
242 VEGA RIVERA, NORMA            06/29/18   Commonwealth of Puerto         120078             Undetermined* VEGA RIVERA, NORMA      06/29/18   Commonwealth of Puerto    130361       Undetermined*
    I.                                       Rico                                                            I.                                 Rico
    PO BOX 488                               17 BK 03283-LTS                                                 PO BOX 488                         17 BK 03283-LTS
    AIBONITO, PR 00705                                                                                       AIBONITO, PR 00705

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
243 VEGA SANTIAGO,                06/29/18   Commonwealth of Puerto         67276              Undetermined* VEGA SANTIAGO,          06/29/18   Commonwealth of Puerto    84803        Undetermined*
    RAMON A.                                 Rico                                                            RAMON A.                           Rico
    APARTADO 616                             17 BK 03283-LTS                                                 APARTADP 616                       17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
244 VEGA TOSADO,                  07/11/18   Commonwealth of Puerto         159704             Undetermined* VEGA TOSADO,            07/11/18   Commonwealth of Puerto    161347       Undetermined*
    MIGDALIA                                 Rico                                                            MIGDALIA                           Rico
    APARTADO 272                             17 BK 03283-LTS                                                 APARTADO 272                       17 BK 03283-LTS
    CAMUY, PR 00627                                                                                          CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
245 VEGA VALES, ENID DEL          07/05/18   Commonwealth of Puerto         151696             Undetermined* VEGA VALES, ENID DEL    07/06/18   Commonwealth of Puerto    154396       Undetermined*
    C.                                       Rico                                                            C.                                 Rico
    HC03 BOX 11493                           17 BK 03283-LTS                                                 HC-03 BOX 11493                    17 BK 03283-LTS
    CONY, PR 00627                                                                                           CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
246 VEGA VEGA, MILAGROS           05/25/18   Commonwealth of Puerto         29956              Undetermined* VEGA VEGA, MILAGROS     05/29/18   Commonwealth of Puerto    42805        Undetermined*
    CARR. 357 KVN 2.6 INT.                   Rico                                                            HC 01 BUZON 8637                   Rico
    MONTOSO                                  17 BK 03283-LTS                                                 MARICAO, PR 00606                  17 BK 03283-LTS
    MARICAO, PR 00606

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
247 VEGA VIDAL, MAGDA             06/24/18   Commonwealth of Puerto         39083              Undetermined* VEGA VIDAL, MAGDA       06/26/18   Commonwealth of Puerto    92250        Undetermined*
    URB. LAUREL SUR #6012                    Rico                                                            URB. LAUREL SUR #6012              Rico
    COTO LAUREL, PR 00780                    17 BK 03283-LTS                                                 COTO LAUREL, PR 00780              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 47 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                           Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 49 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
248 VEGA, EVELYN                  05/18/18   Commonwealth of Puerto         11783              Undetermined* VEGA, EVELYN          05/18/18   Commonwealth of Puerto    11967         $ 150,000.00*
    CALLE 17 # S-4                           Rico                                                            CALLE 17 # S-4                   Rico
    URBANIZACION                             17 BK 03283-LTS                                                 URBANIZACION                     17 BK 03283-LTS
    VERSALLES                                                                                                VERSALLES
    BAYAMON, PR 00959                                                                                        BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
249 VEGA, GERTRUDIS               06/28/18   Commonwealth of Puerto         59105                $ 150,000.00 VEGA, GERTRUDIS      06/28/18   Commonwealth of Puerto    59903         $ 150,000.00*
    PO BOX 6523                              Rico                                                             PO BOX 6523                     Rico
    MAYAGUEZ, PR 00680                       17 BK 03283-LTS                                                  MAYAGUEZ, PR 00680              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
250 VELAZQUEZ ALVIRA,             05/29/18   Commonwealth of Puerto         26261              Undetermined* VELAZQUEZ ALVIRA,     06/05/18   Commonwealth of Puerto    51723        Undetermined*
    EVELYN                                   Rico                                                            EVELYN                           Rico
    URB SANTA TERESITA                       17 BK 03283-LTS                                                 URB SANTA TERESITA               17 BK 03283-LTS
    6543 CALLE SAN                                                                                           6543 CALLE SAN
    ALVARO                                                                                                   ALVARO
    PONCE, PR 00730                                                                                          PONCE, PR 00730

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
251 VELAZQUEZ ALVIRA,             05/29/18   Commonwealth of Puerto         26844              Undetermined* VELAZQUEZ ALVIRA,     06/05/18   Commonwealth of Puerto    51723        Undetermined*
    EVELYN                                   Rico                                                            EVELYN                           Rico
    URB SANTA TERESITA                       17 BK 03283-LTS                                                 URB SANTA TERESITA               17 BK 03283-LTS
    6543 CALLE SAN                                                                                           6543 CALLE SAN
    ÁLVARO                                                                                                   ALVARO
    PONCE, PR 00730-4409                                                                                     PONCE, PR 00730

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
252 VELAZQUEZ ALVIRA,             06/05/18   Commonwealth of Puerto         35519              Undetermined* VELAZQUEZ ALVIRA,     06/05/18   Commonwealth of Puerto    51723        Undetermined*
    EVELYN                                   Rico                                                            EVELYN                           Rico
    URB SANTA TERESITA                       17 BK 03283-LTS                                                 URB SANTA TERESITA               17 BK 03283-LTS
    6543 CALLE SAN                                                                                           6543 CALLE SAN
    ÁLVARO                                                                                                   ALVARO
    PONCE, PR 00730-4409                                                                                     PONCE, PR 00730

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 48 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 50 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
253 VELAZQUEZ ARCE,               06/20/18   Commonwealth of Puerto         83234              Undetermined* VELAZQUEZ ARCE,          06/20/18   Commonwealth of Puerto    116898       Undetermined*
    MIGUEL A                                 Rico                                                            MIGUEL A                            Rico
    BO. PERCHAS                              17 BK 03283-LTS                                                 HC 04 BOX 40769                     17 BK 03283-LTS
    HC 04 BOX 40769                                                                                          SAN SEBASTIAN, PR
    SAN SEBASTIAN, PR                                                                                        00685
    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
254 VELAZQUEZ DIAZ,               05/29/18   Commonwealth of Puerto         44132                $ 300,000.00 VELAZQUEZ DIAZ,         05/29/18   Commonwealth of Puerto    37927          $ 300,000.00
    ANTONIO                                  Rico                                                             ANTONIO                            Rico
    HC 2 BOX 7006                            17 BK 03283-LTS                                                  HC 2 BOX 7006                      17 BK 03283-LTS
    LAS PIEDRAS, PR 00771                                                                                     LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
255 VELAZQUEZ PACHECO,            05/30/18   Commonwealth of Puerto         47872              Undetermined* VELAZQUEZ PACHECO,       05/30/18   Commonwealth of Puerto    44023        Undetermined*
    CRISTINA                                 Rico                                                            CRISTINA                            Rico
    CALLE CEIBA 121C                         17 BK 03283-LTS                                                 PO BOX 1552                         17 BK 03283-LTS
    BO SUSUA BAJA                                                                                            BOQUERON, PR 00622
    SABANA GRANDE, PR
    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
256 VELAZQUEZ PONS,               06/29/18   Commonwealth of Puerto         43203              Undetermined* VELAZQUEZ PONS,          07/10/18   Commonwealth of Puerto    146200       Undetermined*
    MARISOL                                  Rico                                                            MARISOL                             Rico
    HC-03 BOX. 9870                          17 BK 03283-LTS                                                 HC-03 BOX 9870                      17 BK 03283-LTS
    PENUELAS, PR 00624                                                                                       PENUELAS, PR 00624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
257 VELAZQUEZ ROMAN,              06/26/18   Commonwealth of Puerto         52059                 $ 75,000.00 VELAZQUEZ ROMAN,        07/05/18   Commonwealth of Puerto    143587         $ 75,000.00*
    WANDA I.                                 Rico                                                             WANDA I.                           Rico
    PO BOX 8713                              17 BK 03283-LTS                                                  PO BOX 8713                        17 BK 03283-LTS
    HUMACAO, PR 00792                                                                                         HUMACAO, PR 00792

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
258 VELAZQUEZ SANTIAGO,           05/10/18   Commonwealth of Puerto         10372                 $ 50,000.00 VELAZQUEZ SANTIAGO,     05/10/18   Commonwealth of Puerto    11979           $ 50,000.00
    RUBEN                                    Rico                                                             RUBEN                              Rico
    HC-01 BOX 4500                           17 BK 03283-LTS                                                  HC-01 BOX 4500                     17 BK 03283-LTS
    COAMO, PR 00769                                                                                           COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 49 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 51 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
259 VELEZ BAERGA, ANA             05/25/18   Commonwealth of Puerto         25430              Undetermined* VELEZ BAERGA, ANA       05/25/18   Commonwealth of Puerto    30187        Undetermined*
    URB LOMAS VERDES 3P                      Rico                                                            29 ESTANCIAS DE                    Rico
    2 CALLE GIRASOL                          17 BK 03283-LTS                                                 PALMAREJO                          17 BK 03283-LTS
    BAYAMON, PR 00956                                                                                        COROZAL, PR 00783

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
260 VELEZ BAERGA, ANA             05/25/18   Commonwealth of Puerto         26693              Undetermined* VELEZ BAERGA, ANA       05/25/18   Commonwealth of Puerto    30187        Undetermined*
    LOMAS VERDES                             Rico                                                            29 ESTANCIAS DE                    Rico
    3P2 CALLE GIRASOL                        17 BK 03283-LTS                                                 PALMAREJO                          17 BK 03283-LTS
    BAYAMON, PR 00956-                                                                                       COROZAL, PR 00783
    3326

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
261 VELEZ CORREA,                 07/02/18   Commonwealth of Puerto         84468              Undetermined* VELEZ CORREA,           07/02/18   Commonwealth of Puerto    105036       Undetermined*
    CARLOS                                   Rico                                                            CARLOS                             Rico
    PO BOX 560028                            17 BK 03283-LTS                                                 PO BOX 560028                      17 BK 03283-LTS
    GUAYANILLA, PR 00656-                                                                                    GUAYANILLA, PR 00656-
    0028                                                                                                     0028

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
262 VELEZ FERNANDEZ,              05/04/18   Commonwealth of Puerto          9270              Undetermined* VELEZ FERNANDEZ,        05/04/18   Commonwealth of Puerto    9274         Undetermined*
    BETTY                                    Rico                                                            BETTY                              Rico
    PO BOX 833                               17 BK 03283-LTS                                                 PO BOX 833                         17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
263 VELEZ FERNANDEZ,              05/07/18   Commonwealth of Puerto          9374              Undetermined* VELEZ FERNANDEZ,        05/07/18   Commonwealth of Puerto    10944        Undetermined*
    JUDY                                     Rico                                                            JUDY                               Rico
    PO BOX 140                               17 BK 03283-LTS                                                 PO BOX 140                         17 BK 03283-LTS
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739-0140

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
264 VELEZ GOMEZ,                  06/27/18   Commonwealth of Puerto         100885             Undetermined* VELEZ GOMEZ,            06/27/18   Commonwealth of Puerto    151693       Undetermined*
    ESPERANZA IRIS                           Rico                                                            ESPERANZA IRIS                     Rico
    P.O. BOX 8530                            17 BK 03283-LTS                                                 P.O.BOX 8530                       17 BK 03283-LTS
    PONCE, PR 00732-8530                                                                                     PONCE, PR 00732-8530

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 50 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                               Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 52 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
265 VELEZ GONZALEZ,               07/06/18   Commonwealth of Puerto         144150                $ 6,000.00* VELEZ GONZALEZ,          07/06/18   Commonwealth of Puerto    165294           $ 6,000.00
    EDWIN                                    Rico                                                             EDWIN                               Rico
    P.O. BOX 1255                            17 BK 03283-LTS                                                  PO BOX 1255                         17 BK 03283-LTS
    AGUADA, PR 00602-1255                                                                                     AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
266 VELEZ GONZALEZ,               05/24/18   Commonwealth of Puerto         16522              Undetermined* VELEZ GONZALEZ,           05/24/18   Commonwealth of Puerto    16605        Undetermined*
    JAVIER                                   Rico                                                            JAVIER                               Rico
    P. O. BOX 13871                          17 BK 03283-LTS                                                 PO BOX 13871                         17 BK 03283-LTS
    SAN JUAN, PR 00908-3871                                                                                  SAN JUAN, PR 00908-3871

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
267 VELEZ MIRANDA,                04/17/18   Commonwealth of Puerto          7642              Undetermined* VELEZ MIRANDA,            04/17/18   Commonwealth of Puerto    7652         Undetermined*
    CARLOS                                   Rico                                                            CARLOS                               Rico
    URB COSTANCIA                            17 BK 03283-LTS                                                 URB CONSTANCIA                       17 BK 03283-LTS
    3006 SOLLER                                                                                              3006 CALLE SOLER
    PONCE, PR 00717-2213                                                                                     PONCE, PR 00717-2213

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
268 VELEZ MIRANDA,                04/17/18   Commonwealth of Puerto          7646              Undetermined* VELEZ MIRANDA,            04/17/18   Commonwealth of Puerto    7652         Undetermined*
    CARLOS                                   Rico                                                            CARLOS                               Rico
    URB. CONSTANCIA                          17 BK 03283-LTS                                                 URB CONSTANCIA                       17 BK 03283-LTS
    3006 CALLE SOLLER                                                                                        3006 CALLE SOLER
    PONCE, PR 00717-2213                                                                                     PONCE, PR 00717-2213

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
269 VELEZ QUINONES, LUIS          06/28/18   Commonwealth of Puerto         114768             Undetermined* VELEZ QUINONES, LUIS      06/28/18   Commonwealth of Puerto    115398       Undetermined*
    REY                                      Rico                                                            REY                                  Rico
    CARR 404 KM 1.9 BO                       17 BK 03283-LTS                                                 CARR. 404 KM. 1.9 BO-                17 BK 03283-LTS
    CRUZ                                                                                                     CRUZ
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 51 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                          Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 53 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
270 VELEZ RODRIGUEZ,              06/29/18   Commonwealth of Puerto         138436             Undetermined* VELEZ RODRIGUEZ,     06/29/18   Commonwealth of Puerto    152986       Undetermined*
    ANATILDE                                 Rico                                                            ANATILDE                        Rico
    URB. HACIENDA LOS                        17 BK 03283-LTS                                                 URB HACIENDA LOS                17 BK 03283-LTS
    RECREOS                                                                                                  RECREOS
    CALLE JUBILO #81                                                                                         CALLE JUBILO #81
    BUZON #118                                                                                               BOZON #118
    GUAYAMA, PR 00784                                                                                        GUAYOMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
271 VELEZ SANCHEZ,                06/29/18   Commonwealth of Puerto         110225             Undetermined* VELEZ SANCHEZ,       06/29/18   Commonwealth of Puerto    115753       Undetermined*
    ZORAIDA                                  Rico                                                            ZORAIDA                         Rico
    662 SECTOR CAPILLA                       17 BK 03283-LTS                                                 662 SECTOR CAPILLA              17 BK 03283-LTS
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
272 VELEZ TORO, MIRIAM            05/22/18   Commonwealth of Puerto         24612              Undetermined* VELEZ TORO, MIRIAM   05/22/18   Commonwealth of Puerto    31171        Undetermined*
    VILLA OLIMPIA                            Rico                                                            URB VILLA OLIMPIA               Rico
    C8 CALLE 3                               17 BK 03283-LTS                                                 C 8 CALLE 3                     17 BK 03283-LTS
    YAUCO, PR 00698-4304                                                                                     YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
273 VELEZ VELEZ, NELLY            06/29/18   Commonwealth of Puerto         138928             Undetermined* VELEZ VELEZ, NELLY   06/29/18   Commonwealth of Puerto    151173       Undetermined*
    9 CALLE BALDORIO TQ                      Rico                                                            9 CALLE BALDORIOTY              Rico
    APT 3                                    17 BK 03283-LTS                                                 APT. 3                          17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
274 VELEZ VELEZ, NELLY            06/29/18   Commonwealth of Puerto         144111             Undetermined* VELEZ VELEZ, NELLY   06/29/18   Commonwealth of Puerto    151173       Undetermined*
    9 CALLE BALDORIOTY                       Rico                                                            9 CALLE BALDORIOTY              Rico
    APT 3                                    17 BK 03283-LTS                                                 APT. 3                          17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 52 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 54 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
275 VELEZ, CLARIBEL               06/08/18   Commonwealth of Puerto         49964              Undetermined* VELEZ, CLARIBEL          06/08/18   Commonwealth of Puerto    52207        Undetermined*
    MIRANDA                                  Rico                                                            MIRANDA                             Rico
    URB EXT ELIZABETH                        17 BK 03283-LTS                                                 URB EXT ELIZABETH                   17 BK 03283-LTS
    PUERTO REAL                                                                                              PUERTO REAL
    5054 CROMANO                                                                                             5054 CROMANO
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
276 VENTURA DIAZ,                 05/24/18   Commonwealth of Puerto         20718              Undetermined* VENTURA DIAZ,            05/24/18   Commonwealth of Puerto    20981        Undetermined*
    DAMARIS                                  Rico                                                            DAMARIS                             Rico
    VALLES DE YABUCOA                        17 BK 03283-LTS                                                 VALLES DE YABUCOA                   17 BK 03283-LTS
    901 CYUQUILLA                                                                                            901 CALLE YUQUILLA
    YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
277 VERA CUESTA,                  06/29/18   Commonwealth of Puerto         116281             Undetermined* VERA CUESTA,             06/29/18   Commonwealth of Puerto    130890       Undetermined*
    ROBERTO                                  Rico                                                            ROBERTO                             Rico
    PO BOX 286                               17 BK 03283-LTS                                                 PO BOX 286                          17 BK 03283-LTS
    TOA ALTA, PR 00954                                                                                       TOA ALTA, PR 00954

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
278 VERA RAMOS,                   06/07/18   Commonwealth of Puerto         49668              Undetermined* VERA RAMOS,              06/07/18   Commonwealth of Puerto    51227        Undetermined*
    EDGARDO                                  Rico                                                            EDGARDO                             Rico
    HC 8 BOX 82961                           17 BK 03283-LTS                                                 HC 8 BOX 82961                      17 BK 03283-LTS
    SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
279 VICANA SYSTEMS                04/26/18   Commonwealth of Puerto          8328                   $ 6,013.00 VICANA SYSTEMS         04/30/18   Commonwealth of Puerto    9880            $ 6,013.00*
    CORPORATION                              Rico                                                              CORPORATION                       Rico
    IVAN GARAU DIAZ                          17 BK 03283-LTS                                                   LCDO, IVAN GARAU                  17 BK 03283-LTS
    CONDOMINIO EL                                                                                              DIAZ
    CENTRO I SUITE 219                                                                                         CONDOMINIO EL
    AVE. MUÑOZ RIVERA                                                                                          CENTRO I
    #500                                                                                                       SUITE 219 AVE. MUÑOZ
    HATO REY, PR 00918                                                                                         RIVERA #500
                                                                                                               HATO REY, PR 00918

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 53 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 55 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
280 VIDRO PAGAN, MARTA J          06/29/18   Commonwealth of Puerto         93227              Undetermined* VIDRO PAGAN, MARTA J     06/29/18   Commonwealth of Puerto    98457        Undetermined*
    303 PRADERAS DEL RIO                     Rico                                                            HC09 BOX 5877                       Rico
    FLORES                                   17 BK 03283-LTS                                                 HC09 BOX 5877                       17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
281 VIERA ABRAMS ,                09/28/18   Commonwealth of Puerto         167559                $ 45,600.00 VIERA ABRAMS ,          09/28/18   Commonwealth of Puerto    167561          $ 45,600.00
    NELIDA                                   Rico                                                             NELIDA                             Rico
    PO BOX 285                               17 BK 03283-LTS                                                  PO BOX 285                         17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
    00678                                                                                                     00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
282 VIERA ABRAMS ,                09/28/18   Commonwealth of Puerto         167560                $ 45,600.00 VIERA ABRAMS ,          09/28/18   Commonwealth of Puerto    167561          $ 45,600.00
    NELIDA                                   Rico                                                             NELIDA                             Rico
    PO BOX 285                               17 BK 03283-LTS                                                  PO BOX 285                         17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
    00678                                                                                                     00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
283 VIGO SOTO, JULIAN J.          05/28/18   Commonwealth of Puerto         24233                 $ 34,920.00 VIGO SOTO, JULIAN J.    05/28/18   Commonwealth of Puerto    24591           $ 34,920.00
    URB. LOIZA VALLEY                        Rico                                                             URB. LOIZA VALLEY                  Rico
    CALLE LAUREL L-415                       17 BK 03283-LTS                                                  CALLE LAUREL L-415                 17 BK 03283-LTS
    CANOVANAS, PR 00729                                                                                       CANOVANAS, PR 00729

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
284 VILLAFANE COLON,              05/23/18   Commonwealth of Puerto         21953               $ 100,000.00* VILLAFANE COLON,        05/23/18   Commonwealth of Puerto    21954         $ 100,000.00*
    MARIA DEL M                              Rico                                                             MARIA DEL M                        Rico
    URB ALTURAS DE SAN                       17 BK 03283-LTS                                                  URB ALT DE SAN                     17 BK 03283-LTS
    LORENZO                                                                                                   LORENZO JQ2 CALLE 5
    J 92 CALLE 5                                                                                              SAN LORENZO, PR 00754
    SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 54 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 56 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
285 VILLALOBOS SALGADO,           06/28/18   Commonwealth of Puerto         65691              Undetermined* VILLALOBOS SALGADO,     06/28/18   Commonwealth of Puerto    69503        Undetermined*
    MARIBEL                                  Rico                                                            MARIBEL                            Rico
    HC-01 BOX 5346                           17 BK 03283-LTS                                                 HC-01 BOX 5346                     17 BK 03283-LTS
    CIALES, PR 00638                                                                                         CIALES, PR 00638

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
286 VILLANUEVA RIVERA,            06/28/18   Commonwealth of Puerto         113759             Undetermined* VILLANUEVA RIVERA,      06/28/18   Commonwealth of Puerto    139056       Undetermined*
    GLADYS                                   Rico                                                            GLADYS                             Rico
    N6 11 URB. MEDINA                        17 BK 03283-LTS                                                 N6 11 URB MEDINA                   17 BK 03283-LTS
    ISABELA, PR 00662                                                                                        ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
287 VILLARINI                     06/29/18   Commonwealth of Puerto         82728              Undetermined* VILLARINI               07/06/18   Commonwealth of Puerto    130006       Undetermined*
    HERNANDEZ, IVONNE J.                     Rico                                                            HERNANDEZ, IVONNE J.               Rico
    PO BOX 565                               17 BK 03283-LTS                                                 P.O. BOX 565                       17 BK 03283-LTS
    LAS PIEDRAS, PR 00771                                                                                    LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
288 VILLEGAS BAEZ, ELIAS          03/16/18   Commonwealth of Puerto          3053              Undetermined* VILLEGAS BAEZ, ELIAS    03/16/18   Commonwealth of Puerto    4022         Undetermined*
    HC 6 BOX 10214                           Rico                                                            HC 6 BOX 10214                     Rico
    GUAYNABO, PR 00971                       17 BK 03283-LTS                                                 GUAYNABO, PR 00971-                17 BK 03283-LTS
                                                                                                             8504

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
289 VILLEGAS COURET,              06/28/18   Commonwealth of Puerto         61163                   $ 8,400.00 VILLEGAS COURET,      07/13/18   Commonwealth of Puerto    112971          $ 8,400.00*
    ROSARIO                                  Rico                                                              ROSARIO                          Rico
    URB. MAYAGUEZ                            17 BK 03283-LTS                                                   URB. MAYAGUEZ                    17 BK 03283-LTS
    TERRACE CALLE                                                                                              TERRACE CALLE
    RAMON                                                                                                      RAMON
    POWER #3048                                                                                                POWER #3048
    MAYAGUEZ, PR 00682                                                                                         MAYAGUEZ, PR 00682

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 55 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                                Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 57 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
290 VITALI FIGUEROA,              05/29/18   Commonwealth of Puerto         28530                $ 25,000.00* VITALI FIGUEROA,          06/05/18   Commonwealth of Puerto    46353         $ 25,000.00*
    EDWIN                                    Rico                                                             EDWIN                                Rico
    EDGARDO SANTIAGO-                        17 BK 03283-LTS                                                  EDGARDO SANTIAGO-                    17 BK 03283-LTS
    LLORENS                                                                                                   LLORÉNS
    1925 BLV. LUIS A FERRE,                                                                                   1925 BLV. LUIS A.
    SAN ANTONIO                                                                                               FERRE, SAN ANTONIO
    PONCE, PR 00728-1815                                                                                      PONCE, PR 00728-1815

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
291 WHARTON GOMEZ,                06/28/18   Commonwealth of Puerto         132963                $ 55,131.74 WHARTON GOMEZ,            06/28/18   Commonwealth of Puerto    135758         $ 55,131.74
    ROBERTO                                  Rico                                                             ROBERTO                              Rico
    P.O. BOX 421                             17 BK 03283-LTS                                                  PO BOX 421                           17 BK 03283-LTS
    JUCOS, PR 00777                                                                                           JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
292 WILBERT RODRIGUEZ             05/30/18   Commonwealth of Puerto         44935               $ 500,000.00* WILBERT RODRIGUEZ         05/30/18   Commonwealth of Puerto    73941         $ 500,000.00
    SEJUELA FOR HIM AND                      Rico                                                             SEJUELA FOR HIM AND                  Rico
    MINOR NSRH; OSVALDO                      17 BK 03283-LTS                                                  MINOR NSRH; OSVALDO                  17 BK 03283-LTS
    NEGRON NEGRON                                                                                             NEGRON NEGRON
    REPRESENTING MINOR                                                                                        REPRESENTING MINOR
    JNH AND CNH                                                                                               JNH AND CNH
    CHRISTIAN NEGRON                                                                                          CHRISTIAN NEGRON
    HERNANDEZ                                                                                                 HERNANDEZ
    LCDO. RAÚL E.                                                                                             LCDO. HÉCTOR J.
    VARANDELA                                                                                                 FERRER RÍOS-ABOGADO
    VELÁZQUEZ-ABOGADO                                                                                         DE LA UPR
    DEMANDANTE                                                                                                P.O. BOX 194371
    PO BOX 194371                                                                                             SAN JUAN, PR 00919-4371
    SAN JUAN, PR 00919-4371

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
293 YOUNG RODRIGUEZ,              03/07/18   Commonwealth of Puerto           849                   $ 2,987.00 YOUNG RODRIGUEZ,         03/12/18   Commonwealth of Puerto    1543            $ 2,987.00
    LEONARD                                  Rico                                                              LEONARD                             Rico
    URB LAMELA ONIX ST                       17 BK 03283-LTS                                                   URB LAMELA ONIX ST                  17 BK 03283-LTS
    10                                                                                                         10
    ISABELA, PR 00662                                                                                          ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 56 of 57
                                       Case:17-03283-LTS Doc#:6276-1 Filed:04/15/19 Entered:04/15/19 20:56:15                                              Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 58 of 58

                                                                            Twenty-Seventh Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
294 YUMET SOLIS,                  06/27/18   Commonwealth of Puerto         102263             Undetermined* YUMET SOLIS,             06/27/18   Commonwealth of Puerto    108662       Undetermined*
    PATRICIA M.                              Rico                                                            PATRICIA M.                         Rico
    URB. LOS ROSALES                         17 BK 03283-LTS                                                 URB. LOS ROSALES,                   17 BK 03283-LTS
    CALLE 5, J-5                                                                                             CALLE 5, J-5
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
295 ZARAGOZA, JUAN A.             06/27/18   Commonwealth of Puerto         53291                $ 150,000.00 ZARAGOZA, JUAN A.       06/27/18   Commonwealth of Puerto    56647          $ 150,000.00
    HC-10 BOX 8266                           Rico                                                             HC-10 BOX 8266                     Rico
    SABANA GRANDE, PR                        17 BK 03283-LTS                                                  SABANA GRANDE, PR                  17 BK 03283-LTS
    00637-9722                                                                                                00637-9722

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
296 ZAYAS OLIVER,                 06/28/18   Commonwealth of Puerto         117474             Undetermined* ZAYAS OLIVER,            06/28/18   Commonwealth of Puerto    118483       Undetermined*
    MILAGROS                                 Rico                                                            MILAGROS                            Rico
    PARCELAS JAUCA C-A                       17 BK 03283-LTS                                                 PARCELAS JAUCA C.A                  17 BK 03283-LTS
    R-9                                                                                                      R-9
    P.O. BOX 1110                                                                                            SANTA ISABEL, PR 00757
    SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
297 ZAYAS VEGUILLA,               05/30/18   Commonwealth of Puerto         29043              Undetermined* ZAYAS VEGUILLA,          05/30/18   Commonwealth of Puerto    30050        Undetermined*
    OMAR ALEXIS                              Rico                                                            OMAR ALEXIS                         Rico
    BDA POLVORIN                             17 BK 03283-LTS                                                 BDA POLVORIN                        17 BK 03283-LTS
    CALLE 17 #28                                                                                             CALLE 17 #28
    CAYEY, PR 00736                                                                                          CAYEY, PR 00736

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
298 ZAYAS ZAYAS, LUZ M.           06/29/18   Commonwealth of Puerto         131597                $ 60,000.00 ZAYAS ZAYAS, LUZ M.     06/29/18   Commonwealth of Puerto    154473          $ 60,000.00
    A-7 REPARTO MEDINA                       Rico                                                             A-7 REPARTO MEDINA                 Rico
    SAN LORENZO, PR 00754                    17 BK 03283-LTS                                                  SAN LORENZO, PR 00754              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
299 ZENQUIS CASTRO,               05/24/18   Commonwealth of Puerto         19317              Undetermined* ZENQUIS CASTRO,          05/24/18   Commonwealth of Puerto    18774        Undetermined*
    SHAYRA                                   Rico                                                            SHAYRA                              Rico
    HC-01 BOX 5188                           17 BK 03283-LTS                                                 HC05 BOX 5188                       17 BK 03283-LTS
    YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767-
                                                                                                             9608

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 57 of 57
